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                                                                                                                                                     0MB No. 1140-0020
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                                   ·reann s and Explosives                             Firearms Transaction Record Part I -
                                                                                       Over-the-Counter
WARNING: You may not receive a firearm if prohibited by Federal or State law. The information you provide will                                 Transferor's Transaction
be used to determine whether you are prohibited under law from receiving a firearm. Certain violations of the Gun                              Serial Number (ff any)
Control Act, 18 U.S .C. §§ 921 et. seq. , are punishable by up to 10 years imprisonment and/or up to a $250,000 fine.

Prepare in original only. All entries must be handwritten in ink. Read the Notices, Instructions, and Definitions on
this form. "PLEASE PRINT. "
                                       Section A - Must Be Completed Personally By Transferee (Buyer)
 I . Transferee 's Full Name
 Last Nam e                                       First Name                                       Middle Name (If no middle name, state "NMN")



2.
                                                             D V\ (\
   Current Res i ence Address (U.S. Postal abbreviations are acceptable. Cannot be a post office box.)
Number and Street Address                       City                                        County                                           State     ZIP Code



3.    Pl ace of Birth
                                                                                                                     \                       co ia~oY
U.S. City and State               -OR-       Foreign Country                                                                                               Year


8.    Social Security Number (Optional, but will help prevent misidentification)        9. Unique Personal Iden tification N umber (UPIN) if applicable (See
                                                                                                                                                                  91
                                                                                            Instructions for Question 9.)

10.a. Ethnicity                     10.b. Race (Check one or more boxes.)
 D Hispanic or Latino     D               Am erican Indian or Alaska Native       O    Black or African American
 @ Not Hispanic or Latino D               Asian                                   D    Native Hawaiian or Other Pacific Islander
11. Answer questions 11.a. (see exceptions) through 11.1. and 12 (if applicable) by checking or marking ''.Yes" or "no" in the boxes to the right of the questions.
a.  Are you the actual transferee/buyer of the fireann (s) listed on th is form ? Warning : You are not the actua l buyer if you are                            Ye     No
    acquiring the firearm(s) on behalf of another person. If you are not the actual buyer, the dea ler cannot transfer the firearm(s)                                  D
    to you. (See Instructions for Question 1 I .a.) Exception: If you are picking up a repaired firearm(s) fo r another person, you are not
    re uired to answer 11.a. and ma roceed to uestion 11 .b.
b. Are you under indictment or information in any court for a felony , or any other crime, for which the judge could imprison you for                           Yes
    more th an one year? (See In structions for Question 11.b.)                                                                                                D
c . Have you ever been con victed in any court of a felony , or any other crime, for which the judge could have imprisoned you for more
    th an one ear, even if ou received a shorter sentence includin robati on? 'See Instructions or Ouestion 11 .c.
d.    Are you a fugitive from justice?

e.    Are yo u an unlawful user of, or addicted to , marijuana or any depre ssant, stimulant, narcotic drug, or any other controlled substance?

f.    Have you e er been adjudicated mentally defective (which includes a determination by a court, board, commission, or other lawful
      au1hority that y ou are a danger to yourself or to others or are incompetent Jo manage your own affairs) OR have you ever been
      committed to a mental institution? (See Instru ctions for Question 11 . .)
g.    H ave you been discharged from the Armed Forces under dishonorable conditions?

h.    Are you subj ect to a court order restraining you from harassing, stalking, or threatening your child or an intimate partner or child of
      such partner? (See Instructions for Question 1 J .h.)

 i.   Have you ever been convicted in any court of a mi sdemeanor crime of dom estic violence? (See In structions for Question 11. i.)

J.    Have you ever renounced your United States citizen ship ?

k.    Are you an alien illegally in the United States?

 I.   Are yo u an alien admitted to th e United States under a nonimmigrant visa? (See Instructions for Question 1 I .I.)            Ifyou answered
      "no" to this question, do NOT respond to question 12 and proceed to question 13.
12. lf yo u are an alien admitted to the Uni ted States under a nonimmigrant vi sa, do you fall within any of the exceptions set forth in the    Yes No
    instructions? (If "yes," the licensee must complete question 20c.) (See In structions for Question 12.) If question 11 .l. is answered
    with a "no " response, then do NOT respond to question 12 and proceed to question 13.                                                                      • •
13. What is your State of resi denc e I 4. What is your country of citizenship? (L ist/check more than 15. If you are not a citizen of the United States,
    (if any)? (See Instructions for         one, if applicable. If you ar:!!.Jitizen of the United States,     what is your U.S. -issued alien number or
    Question 13.)                         . proceed to question 16.)           lYJ
                                                                              United States of America         admission number?
                                               D Other (Speczjy)
Note :                                                      Transferee tftm'~tCoo ~to Next Page                                            ATF Form 4473 (5300.9) Part I
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I certify that my answers to Section A are true, correct, and complete. I have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473 . I understand that answering "yes" to question II.a. if I am not the actual buyer is a crime punishable as a felony under
Federal law, and may also violate State and/or local law. I understand that a person who answers "yes" to any of the questions 1 l.b . through
11 .k. is prohibited from purchasing or receiving a firearm . I understand that a person who answers "yes" to question 11.1. is prohibited from
purchasing or receiving a firearm , unless the person also answers "Yes" to question 12. I also understand that making any fa lse oral or
written statement, or exhibiting any false or misrepresented identification with respect to this transaction, is a crime punishable as a felony
under Federal law, and may also violate State and/or local law. I further understand that the repetitive purchase of firearms for the purpose
of resale for livelihood and profit without a Federal firearms license is a violation of law (SeelnstructionsforQuestion 16).


                                                                                                                                     \
18 . Type of fir earm (s) to be transferred (check or mark all that apply) :         19 . If sale at a gun show or other qualifyi ng event.
      ~       Handgun   OLongGun
                          (rifles or
                                            0      Other Firearm (Fra me, Receiver, etc. Name of Event
                                                   See Instructions fo r Question 18.)
                                                                                                          &\A
                                                                                                       - - ~~ - - - - - - - - - - - - - - - - - -
                          shotguns)                                                  City, State
20a. Identification (e.g., Virginia Driver 's license (VA DL) or other valid government-issued photo identification.) (See Instructions for Question 20.a.)
Iss uin g Authority and Type of Identi fic atio n          Number on Identification                                  Expiration Date of Identification (if any)
                                                                                                                     Month            Day             Year

                                                                    lL\ - 3l
20b . Alternate Documentation (if driver's license or other identification document does not show current residence address) (See In structions for
      Question 20.b.)

20c. Aliens Admitted to the United States Under a Nonimmigrant Visa Must Provide: Type of documentation showing an exception to the nonimmi-
     grant visa prohibition. (See .Instructions fo r Question 20.c.)


        Questions 21 , 22, or 23 Must Be Completed Prior To The Transfer Of The Firearm(s) (See Instructions for Questions 21 , 22 and 23.)
21 a. Date the transferee 's identifying information in Section A was transmit- 2 1b. The NICS or State transaction number (ifprovided) was:
      ted to NICS or the appropriate State agency: (Mon th/Day/Year)
          Month             Day             Year
                                                                                       ~SHT- lt:D/
2 lc . The response initially provided by NICS or the appropriate State               21 d. If initial NICS or State response was "Delayed, " the following
       agency was :                                                                         response was received from NICS or the appropriate State agency :
          ~     Proceed       O   Delayed                                                  O Proceed        _ _ __ _ _ _ _ (date)
          0     Denied            [Thefirearm(s) may be transferred on
                                  _ _ _ _ _ _ (Missing Disposition
                                                                                            O   Deni ed      _ _ _ _ _ _ _ _ (date)
          0     Cancelled
                                  Information date provided by NICS) if State law           O   Cancelled - - - - - - - - (date)
                                  permits (optional)]                                      0    No resolution was provided within 3 business. days .
2l e. (Comp lete if applicable.) After the firearm was transferred, the fo llowing response was received from NICS or the appropriate State agency on:
                 QIA              (date).                0    Proceed          O   Denied             O    Cancelled
2 1f. The name and Brady identification number of the NICS examiner (Option al)

                                     =t:Y\~±
                                        (name)                                                      (number)
22.       D    No NICS check was required because the transfer invol ed nly National Firearms Act firearm (s). (See Instructions for Question 22.)

23 . O      No NICS check was required because the buyer has a valid permit from the State where the transfer i to take place, which qualifies as an
            exemption to NICS (See In structions for Question 23.)
 Iss uing State and Permit Type                Date oflssuance (if any)      Expiration Date (if any)            Permit umber (if any)
                                    ~)                                                                                                     ~t'.
                                              Section C - Must Be Completed Personally By Transferee (Buyer)
 If the transfer of the firearrn (s) takes place on a different day from th e date that the transferee (buyer) signed Section A, the transferee must complete
 Section C immediately prior to th e transfer of the firearm(s). (See Instructions for Question 24 and 25.)
I certify that my answers to the questions in Section A of this form are still true, correct and complete.                                                            DD
                                                                                                                                                                      of _
24. Transferee's/Buyer's Signature                                                                                               25. Recertification Date


                                                               Transferor (Seller) ontinue to Next Page
                                                             STAPLE IF PAGES BECOME SEPARATED

                                                                          DODOIG      006375                                       ATF Form 4473 (5300.9) Part I
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                                                           Section D - Must Be Completed By Transferor (Seller)
                        26.                                    27.                                  28.                                         29.                     30.
h      Manu fac turer and/or Importer (If the                 Model                           Serial Number                         Type (pistol, revolver, rifle,   Caliber or
m     manufactu rer and imp orter are different,                                                                                    shotgun, receiver, frame,         Gauge
          the FFL ·should include both)                                                                                             etc) (See instructions f or
                                                                                                                                    question 29)

                                                                                           1'.66([)~                                                                 °tll'v m
                                                            I°'
e
          C/J ~orlL_                                                                                                                    ,() \-:")¼-b\
                                                                                                                                         '

     30a. Total N umb er of Firearm s (Please handwrite by printing e.g , one, two, three, etc. Do not use numerals.)               30b. Is any part of this transaction a
                                                                                                                                    Pawn Redemption?
     ()[\Q ,,                                                                                                                                                  OYes ra:i_ No
     30c. For U se by FFL (See Instructions for Question 30c)                                                                                                               "

                         Complete ATF Form 3310.4 For Multiple Purchases of Handguns Within 5 Consecutive Business Days
                                                                                                                                                                     •n(i\.Q
      31. Trade/corporate name and address of tran sferor (se ller) (Hand stamp may be 32. Federal Firearms License Number (Must contain at least first
          used )      K&L                          •                                       three and last jive dig its of FFL Number X-XX-XXXXX)
                                      ar ~ting Group Inc.                                  (Hand stampmay be used )

i-                        SPEc 1ALTY SPORTS & SUPPLY
                            428 5 E. FOUNTAIN BLVD .
                                                                                                              5-8·4. . 041-01-5J-00170
                    COLORADO SPRINGS. E p
                      The Person Transferring The Firearm(s) Must omplete Questions 33-36. For Denied/Cancelled Transactions,
                                             The Person Who Completed Section B Must Complete Questions 33-35.
      I certify that my answers in Sections B and D are true, correct, and complete. I have read and understand the Notices, Instructions, and Definitions
      on ATF Form 4473. On the basis of: (1) the statements in Section A (and Section C if the transfer does not occur on the day Section A was com-
      pleted); (2) my verification of the identification noted in question 20a (and my reverification at the time of transfer if the transfer does not occur on the
      day Section A was completed) ; and (3) the information in the current State Laws and Published Ordinances, it is my belief that it is not unlawful for
      me to sell, deliver, transport, or otherwise dispose of the firearm(s) listed on this form to the person identified in Section A.


y:
      ~         ~     ~       ~ ~ ~~ ~~                                       µ_..~                                      . ~
                                                                                             ~ ~ ~- ~~ ~-~--:-:-=-::-:-~:x;i.
                                                                                                                         :;.:::.                                           ~ I'.:(
                                                                                              fyo u or the buyer discover that an ATF Form 4473 is incomplete or improperly
                                                                                             compl eted after the fi rearm has been transferred, and you or the buyer wi sh to
      Purpose of the Fo rm : The information and certification on this fo rm are             make a record of your disco very, then photocopy the inaccurate form and make
      des igned so that a person licensed under 18 U.S.C. § 923 may determine if he          any n ecessary addi tions or revisi ons to the photocopy. You only should make
      or she may lawfu ll y sell or deliver a fi rearm to the person ide ntified in          changes to Section s B and D. The buyer should only make changes to Sections A
1:    Section A , and to alert the buyer of certain restrictions on the receipt and          and C. Whoever made the changes should initial and date the changes. The
      possession of firea rms. Th is form should only be used for sales or transfers         corrected photocopy should be attached to the ori ginal Form 44 73 and retained as
      where the seller is licensed under 18 U.S.C. § 923. The seller of a firearm            part of yo ur perman en t records.
      must determi ne the lawfulness of the transact ion and maintain proper records
      of the transaction . Consequently, the seller must be fami liar with the               Over-the-Counter Transaction: The sale or other disposition of a firearm by a
      provis ions of 18 U.S.C. §§ 921 -931 and the regulation s in 27 CFR Part 4 78 .        seller to a buyer, at the seller's licensed premises. This includes the sale or other
      1n determinin g the lawfulness of th e sale or deli very of a long gun (rifle or       disposition of a rifl e or shotgun to a nonresident buyer on such premises.
      shotgun) to a resident of another State, the sell er is presumed to know the
      appl icable State laws and published ordinances in both the sell er 's State and       State Laws and Published Ordinances: The publication (ATF P 5300.S) of
      rhe buyer's State.                                                                     State fi rearms laws and local ordinances ATF d istributes to licensees.

      After the seller has completed th e fi rearms transaction , he or she must make        Exportation of Firearms: The State or Commerce Departments may require you
      the completed, origina l ATF Form 4473 (which includes the Notices, General            to obtain a license prior to expo rt .
      Instructions, and Definitions), and any supporting documents, part of his or
      her permanent records. Such Forms 4473 must be retained fo r at least 20                                                     Section A
      years. Filing m ay be chronological (by date) , alphabetical (by name), or
e     numerical (by transaction seria l number), as long as all of the seller's              Question I. Transferee's Full Name: The buyer must personally complete
      completed Forms 4473 are fi led in the same manner. FORM S 4473 FOR                    Section A of thi s fo rm and certify (sign) that the answers are true, correct, and
      DENI ED/CANCELLED TRANSFERS MUST BE RETA INED: If the transfer                         complete. However, if the buyer is unable to read and/or write , the answers
      of a firea rm is den ied/cancell ed by NICS , or if fo r any oth er reason the         (o ther than the signature) may be completed by another person, excluding the
      transfe r is not complete after a NICS check is in itiated, the licensee must          seller. Two persons (o th er than the seller) must th en sign as witnesses to the
      retai n the AT F Form 4473 in his or her reco rds for at least S years. Forms          buyer's answers and signature.
      4473 with respect to wh ich a sale, delivery, or transfer did not take place shall
      be separately retai ned in alphabetical (by name) or chronological (by da te of        When the buyer of a firearm is a corporation, company, association, partnership,
      1ransferee 's certifica tion) order.                                                   or other such bu si ness entity, an officer authori zed to act on behalf of the

                                                                                  DODOIG     006376
                                                                                                                                               ATF Form 4473 (5 300.9) Part I
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                                                                                         Firearms Transaction Record Part I -
                                                                                         Over-the-Counter
WARNING: You may not receive a firearm if prohibited by Federal or State law. The information you provide will                                    Transferor's Transaction
be used to determine whether you are prohibited under law from receiving a firearm. Certain violations of the Gun                                 Serial N umber (If any)
Control Act, 18 U.S.C. §§ 921 et. seq., are punishable by up to 10 years imprisonment and/or up to a $250,000 fine.

Prepare in original only. All entries must be handwritten in ink. Read the Notices, Instructions, and Definitions on
this form. "PLEASE PRINT."
                                       Section A - Must Be Completed Personally By Transferee (Buyer)
 I. Transferee's Full Name
                                                 First Name                                        Middle Name (If no middle name, state "NMN'")



2.                                   (U.S. Postal abbreviations are acceptable. Cannot be a post office box.)
                                                                                                                       ?v~ ~c..t::..
Number and Street Address                              City                                        County                                      State     ZIP Code


3. Place of Birth
                                                             Co           4. Height      5. Weight      6) ¢'ender         7. Birth Date
                                                                                                        ~ Male
s
U.S. City and State


8.
            \'{IN{Cf-t
                                  -OR-
                                ,)(
                                            Foreign Country                Ft.
                                                                           In.
     Social Security Number (Optional, but will help prevent misidentification)
                                                                                 -3:__
                                                                                 _j__ ~
                                                                                             (Lbs.)
                                                                                                  -      D Female
                                                                                                                            Month

                                                                                                                             0
                                                                                                                                         Day

                                                                                                                                              \~
                                                                                          9. Unique Personal Identification Number (UPIN) if applicable (See
                                                                                                                                                             Year
                                                                                                                                                             \~~ {
              7JY-)11-                    4                                                  Instructions for Question 9.)

IO.a. Ethnicity
 D    Hispanic or Latino
 [S2f"1ot Hispanic or Latino
                                     I 0. b. Race (Check one or more boxes.)
                                     D
                                     D
                                          American Indian or Alaska Native
                                          Asian
                                                                                    D
                                                                                    D
                                                                                         Black or African American
                                                                                         Native Hawaiian or Other Pacific Islander
                                                                                                                                            d    White


11. Answer questions I l.a. (see exceptions) through I 1.1. and 12 (if applicable) by checking or marking ''yes" or "no" in the boxes to the right of the questions.
a. Are you the actual transferee/b uyer of the firearm(s) listed on this form? Warning: You are not the actual buyer if you are                                  YSf!'   No
    acquiring the firearm(s) on behalf of another person. If you are not the actual buyer, the dealer cannot transfer the firearm(s) ~
    to yo u. (See Instructions for Question I I .a.) Exception: If you are picking up a repaired firearm(s) for another person, you are not                              •
    re uired to answer 11.a. and ma roceed to uestion 11.b.
b. Are you under indictment or information in any court for a felony , or any other crime, for which the j ud ge could impri son yo u for                        Yes
    more than one year? (See Instructions for Question 11.b.)
c. Have you ever been convicted in any court of a felony , or any other crime, for which the judge could have imprisoned you for more
                                                                                                                                                                  •
                                                                                                                                                                 Yes
    than one ear, even if ou received a shorter sentence includin robation? (See Instructions or Ouestion 11.c.)
d. Are you a fug iti ve from justice?
                                                                                                                                                                  •
                                                                                                                                                                Yes

e.   Are you an unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other controlled substance?
                                                                                                                                                                  •
                                                                                                                                                                  Yes

f    Have you ever been adjudicated mentally defective (which includes a determination by a court, board, commission, or other lawful
                                                                                                                                                                  •
     authority that you are a danger to yourself or to others or are incompetent to manage your own affairs) OR have you ever been                                Yes
     committed to a mental institution? (See Instructions for Question 1 If)                                                                                      •
                                                                                                                                                                  Yes
g.   Have yo u been di scharged from the Armed Forces under dishonorable conditions?

h.   Are you subject to a court order restraining you from harassing, stalking, or threatening your child or an intimate partner or child of
                                                                                                                                                                  •
                                                                                                                                                                  Yes
     such partner? (See Instructions for Question 11.h.)
                                                                                                                                                                  •
                                                                                                                                                                  Yes
i.   Have you ever been convicted in any court of a misdemeanor crime of domestic violence? (See Instructions for Question 11. i.)

j.   Have you ever renounced your United States citizenship?
                                                                                                                                                                  •
                                                                                                                                                                  Yes

k. Are you an alien illegally in the United States?
                                                                                                                                                                  •
                                                                                                                                                                  Yes

I.   Are you an alien admi tted to the United States under a nonimmigrant visa? (See Instructions for Question 11.l.) Jfyou answered
                                                                                                                                                                  •
                                                                                                                                                                  Yes
     "no" to this question, do N OT respond to question 12 and proceed to question 13.
12. If yo u are an alien admitted to the United States under a nonimmigrant visa, do you fall within any of the exceptions set forth in the
                                                                                                                                                                  •
                                                                                                                                              Yes No
    instructions? (If "yes," the licensee must complete question 20c.) (See Instructions for Question 12.) If question 11.l. is answered
    with a "no " response, then do NOT respond to question 12 and proceed to question 13.                                                                         • •
13. What is your State of residence 14. What is your country of citizenship? (L ist/check more than I 5. If you are not a citizen of the United States,
    (if any)? (See Instructions for                                                 /i
                                           one, if applicable. If you are a tizen of the United States,      what is your U.S.-issued alien number or
    Question 13.)                          proceed to questwn 16.)               i;2J
                                                                            United States of America         admission number?
        o\o                                     D Other (Specify)
Note : Previous Editions Are Obsolete                        Transferee (~~}A=o'l{™l:l~do Next Page                                          ATF Fann 4473 (5300.9) Part 1
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                                                                                                                                                             USA00015371
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I certify that my answers to Section A are true, correct, and complete. I have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. I understand that answering "yes" to question 11.a. if I am not the actual buyer is a crime punishable as a felony under




                                                                                                                                                                   t
Federal law, and may also violate State and/or local law. I understand that a person who answers "yes" to any of the questions 11.b. through
11.k. is prohibited from purchasing or receiving a firearm. I understand that a person who answers "yes" to question 11.1. is prohibited from
purchasing or receiving a firearm, unless the person also answers "Yes" to question 12. I also understand that making any false oral or
written statement, or exhibiting any false or misrepresented identification with respect to this transaction, is a crime punishable as a felony
under Federal law, and may also violate State and/or local law. I further understand that the repetitive purchase of firearms for the purpose
of resale for livelihood and profit without a Federal firearms license is a violation of law (See Instructions for Quesaon 16).
16. Transferee'                                                                                                                  17. Certification Date-
                                                                                                                                                - ( c:7
18. Type of firearm(s) to be transferred (check or mark all that apply):             19. If sale at a gun show or other qualifying event.
      w     andgun    •    Long Gun
                           (rifles or
                                        •      Other Firearm (Frame, Receiver, etc. Name of Event
                                               See Instructions for Question 18.)
                                                                                                           A/'t
                                                                                                  ----~----------------
                           shotguns)                                                 City, State
20a. Identification (e.g., Virginia Driver's license (VA DL) or other valid government-issued photo identification.) (See Instructions for Question 20.a.)
Issuing Authority and Type of Identification              Number on Identification                                  Expiration Date of Identification (if any)
                                                                                                                    Month            Day             Year

Co{o r ~                  J~c I<<--<~~                  /'--f-3 (~-0-6 "";/-J                             62,          /-:L J-o;;LV
20b. Alternate Documentation (if driver's license or other identification document does not show current residence address) (See Instructions for
     Question 20.b.)                                                           A...J:'7
20c. Aliens Admitted to the United States Under a Nonimmigrant Visa Must Provide: Type of documentation showing an exception to the nonimmi-
     grant visa prohibition. (See Instructions for Question 20.c.)


        Questions 21, 22, or 23 Must Be Completed Prior To The Transfer Of The Firearm(s) (See Instructions for Questions 21, 22 and 23.)
21 a. Date the transferee's identifying information in Section A was transmit- 21 b. The NICS or State transaction number (if provided) was:
                                                                                                                                                                   I
      ted to NICS or the appropriate State agency: (Month/Day/Year)
          Month           Day           Year

            -b            '}_£          J-(J)L~                                       2~0Y-fJ~R-1 k l~/5LQZ55
2 lc. The response initially provided by NICS or the appropriate State               21 d. If initial NICS or State response was "Delayed," the following
      agency was:                                                                          response was received from NICS or the appropriate State agency:
          -m
           D
              Proceed
              Denied
                           •     Delayed
                                 [The Ji.rearm(s) may be transferred on
                                                                                          D Pwcred
                                                                                          D Denied
                                                                                                           ~
                                                                                                           ~         -
                                                                                                                             /data)
                                                                                                                             (date)
                                  _ _ _ _ _ _ (Missing Disposition
          D   Cancelled
                                 Information date provided by NICS) if State law          D Cancelled _ _ _ _ _ _ _ _ (date)
                                 permits (optional)}                                      D No resolution was provided within 3 business. days.
21 e. (Complete iJ.afplicable.) After the firearm was transferred, the following response was received from NICS or the appropriate State agency on:               Sr
          ---~~~ - - - (date).                       D     Proceed           D     Denied            D     Cancelled
 2lf. The name and Brady identification n~            of the NICS examiner (Optional)
                                 Lkl:          M.Af-
                                                 (name)
                                                                                        -----
                                                                                          (number)
22.   D       No NICS check was re uired because the transfer involved only National Firearms Act firearm(s). (See Instructions for Question 22.)                  .d

23.   D    No NICS check was required because the buyer has a valid permit from the State where the transfer is to take place, which qualifies as an
           exemption to NICS (See Instructions for Question 23.)
 Issuing State and Permit Type               Date of Issuance (if any)
                                J4:-                            4-                                                                                                 h
                                            Section C - Must Be Completed Personally By Transferee (Buyer)
 If the transfer of the firearm(s) takes place on a different day from the date that the transferee (buyer) signed Section A, the transferee must complete
 Section C immediately prior to the transfer of the firearm(s). (See Instructions for Question 24 and 25.)                                                         a
I certify that my answers to the questions in Section A of this form are still true, correct and complete.                                                         D
24. Transferee's/Buyer's Signature                                                                                         25. Recertification Date                o:


                                                            Transferor (Seller) Continue to Next Page
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                                                                                                                                   ATF Form 4473 (5300.9) Part I
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                                                                                                                                   Revised April 20 I 2




                                                                                                                                                     USA00015372
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                                                     Section D - Must Be Completed By Transferor (Seller)
                  26.                                   27.                                  28 .                                        29.                     30.
 Manufacturer and/or Importer (If the                  Model                           Serial Number                         Type (pistol, revolver, rifle,   Caliber or
manufacturer and importer are different,                                                                                     shotgun, receiver, frame,         Gauge
    the FFL should include both.)                                                                                            etc.) (See instructions for
                                                                                                                             question 29)

      /2._,   ~~1.-{>   <                        GP        (00            /9-?--5930 \                                           re.-00!~                     5f;.+
               J




30a. Total Nu mber of Fiream1 s (Please handwrite by printing e.g. . one. two. three, etc. Do not use numerals.)             30b. ls any part of thi s transaction        ~


 lI\V
30c. For Use by FFL (Se e Instructions fo r Question 30c.)
                                                                                                                             Pawn Redempti on')
                                                                                                                                                              Ove.            0




                 Complete ATF Form 3310.4 For Multiple Purchases of Handguns Within 5 Consecutive Business Days
31. Trade/corporf(&L aa()Ja.Qdrt§..S o'-\ransferqJ;,,,(seller) (Hand stamp may be 32. Federal Firearms License Number {Must contain at least first
    used.)                     1v1arKet1ng uroup Inc.                                 three and last five digits of FFL Number X-XX-XXXXX)
                        SPECIALTY SPORTS & SUPPL y                                                  (Hand stamp may be used.)
                          4285 E. FOUNTAIN BLVD                                                                5-84-041-01-SJ-00170
                   COLORADO SPRINGS, EL PASO CO 809"16_
                                                       1901
                The Person Transferring The Firearm(s) Must Complete Questions 33-36. For Denied/Cancelled Transactions,
                                     The Person Who Completed Section B Must Complete Questions 33-35.
I certify that my answers in Sections B and D are true, correct, and complete. I have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. On the basis of: (1) the statements in Section A (and Section C if the transfer does not occur on the day Section A was com-
pleted); (2) my verification of the identification noted in question 20a (and my reverification at the time of transfer if the transfer does not occur on the
day Section A was completed); and (3) the information in the current State Laws and Published Ordinances, it is my belief that it is not unlawful for
me to sell, deliver, transport, or otherwise dispose of the fireJ_rm(s) listed on this fo to the person identified in Section A.




                                                                                      lfyou or the buyer di sc er that an    F om1 4473 is incomplete or imp roperly
                                                                                      completed after the firearm has been transferred, and you or th e buyer wish to
Purpose of the Form: The information and certificati on on this fomi are              make a record of your discovery, then photocopy the inaccurate form and make
designed so that a person li ce nsed under 18 U .S.C. § 923 may determine if he       any necessary additions or revisions to the photocopy. You only should make
or she may lawfully sell or deliver a fireami to the person identified in             change s to Sections B and D. The buyer should only make changes to Sections A
Sectio n A , and to alert the buyer of certai n restri ctions on the receipt and      and C. Whoever made the changes should initial and date the changes. The
possession of firearms . Th is form shou ld only be used for sales or transfers       corrected photocopy should be attached to the original Form 4473 and retained as
where the seller is licensed under 18 U.S.C. § 923 . Th e seller of a firearm         part of yo ur permanent records.
must determine the lawfulness of the tran saction and maintain proper records
of the tran action. Consequently, the seller must be fami liar with the               Over-the-Counter Transaction: The sale or other d isposition of a firea mi by a
 rovision of 18 U.S.C. §§ 921-931 and the regulations in 27 CF R Part 478.            seller to a buyer, at the seller's licensed premises. This includes the sale or other
In de ennining the lawfu lness of th e sale or delivery of a long gun (rifle or       di sposition of a rifle or shotgun to a nonre sident buyer on such premises.
shotgun) to a resident of another State, the se ll er is presumed to know the
applicable iate laws and published ordi nan ces in both the seller's State and        State Laws and Published Ordinances: The publication (ATF P 5300.5) of
the buyer' tale .                                                                     State firearms laws and local ordinances ATF distributes to licensees.

After the seller has completed the firearms tran sacti on, he or she must make        Exportation of Firearms: The State or Commerce Departments may require you
the completed, original ATF Fomi 4473 (wh ich includes the Notices, General           to obta in a license prior to export.
In structions, and Definitions), and any supporting documents, part of his or
her pemianent records. Such Forms 44 73 must be retain ed fo r at least 20                                                  Section A
years. Filing may be chronological {by date), alph abetical (by name), or
numeri cal {by transaction serial number), as long as all of the se ller's            Question 1. Transferee's Full Name: The buyer must personall y compl ete
completed Forms 44 73 are filed in the same manner. FORMS 4473 FOR                    Section A of thi s form and certify (sign) th at the answers are true, correct, and
DENIED/CANCELLED TRANSFERS MUST BE RETAINED: If the transfer                          complete. However, if the buyer is unable to read and/or wri te, the answers
ofa fireami is denied/cancelled by !CS, or if for any other reason th e               (o th er than the signature) may be completed by another person, exc luding the
transfer is not complete after a I JCS check is initiated, the licensee must          seller. Two persons (other than the seller) must then sign as witnesses to the
reta in the ATF Form 44 73 in his or her records fo r at least 5 years. Fomis         buyer's answers and signature.
4473 with respect to which a sale, delivery, or transfer did not take place shall
be separately retained in alphabetical {by name) or chronolo gical {by date of        When th e buyer of a fireami is a corporation, company, association, partnership,
transferee 's certification) order.                                                   or other such business entity, an officer authorized to act on behalf of the

                                                                            DO DOIG    006391
                                                                                                                                        ATF Form 447 3 (5300 .9) Part I
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                                                                                                                                                              USA00015373
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      U.S. Department of Justice                                                                                                                                0MB No. 1140-0020
      BLtreau of Alcohol, Tobacco, Firearms and Explosives                                    Firearms Transaction Record Part I -
                                                                                              Over--the-Counter
 WARNING: You may not receive a firearm ifprohihited hy Federal or State Jaw. The information you provide will
                                                                                                                                                         Trnnsferor's Ti·unsuctiun
 be used to determine whether you are prohibited undel' law from receiving a firearm, Certain violations of the Cun
                                                                                                                                                         Sr;:ria.l Number (If any)
 Control Act, HI U.S.C. §§ 921 er. s11q., are punishable by up to 1.0 yl!ars imprisonment nnd/or up to a $250,000 fine.

 Prepare In original only. All entries must be handwritten In ink. Read the Notices, Instructions, and Definitions on
 this form. "PLEASE PRINT."
                                        Section A~ Must Be Completed Personally By Transferee (Buyer)
  l, Transferee's Full Name
  Last Name                                       First Name

  ft\le
  2.Current R sidence Address (U.S. Postal abb.-evhdions are acceptable, Cannot be a post offlcl! bo);.)
  Number and Street Addre6s                  ·ff"{O
                                                 City                                       County                                                    St!lte    ZIP Code
      30{:)':; \/0. C.cilor'\Jo ftJe.. ColOre1..JC)                                          SD, i A°'. s               Q,,l trt\SO                  (G         ~f);G'L{
  3. Place of Birth                                                           4. H~lght       5. Weight .. ~ender                7. Birth Date
  U.S. City and State                        IForeign Country
                                                                                                                                                 I,~ 1r;1
                                      -OR-                                                       (Lbs.)

s1Ptn rf\1.:w-c/·) \)(
                                                                              Ft._2__
                                                                                   '   ·',
                                                                              In . .l.U_
                                                                                                   .-
                                                                                              .0.-~ti         0
                                                                                                                    Male
                                                                                                                    Female
                                                                                                                                 Month

                                                                                                                                  Od-.
  8,     Social Security Number (Optional, bu/ will help p1·ever1.t misidentification.)       9, Unique Personal ldcmtification Numbe1· (UP!N) if applicable (See
       ~;:z, '1-rj - ;:J l,.ai -0 t.-i ~}1                                                       Instr11ctlon:;Jor Question 9.)
 l O.a. Ethnicity                       10.b. Race (Che.ck one or more boxes.)
     D Hispanic or Latino               0    American Indian or Alaska Native           O Black oi: African American                              &white
  filNot Hispanic or Latino             0    Asian                                      D N~tive 1-fawaiian or Othel' Pe.ct!ic Mander
11. An.swi.:r questions 11.a. (,c,e l?.XCl!ption~) through I 1.1. illl.d 12 (ifapplir:qNc>J_by checking or marking 'yes" fJr "no"in the boxes to the right _ofthe questions.
a. Arc you the ~ctual transferee/buyer uf the fircann(s) listed on this form? Warning: You are not the actual buyer if you are
    acquiring the firearm(s) on behll.lf of another person, If you are not the ac:tull.) buyer, the dealer cannot transfer the firearm(s) ·
                                                                                                                                                                        Izr    No
    to you. (St.1a fnstruclions for Question I l.a.) Exception: If you are picking up a 1·epairedfireannM fi;,- another person, you are not                                    •
    rt1Qt1ired to a11swer 11.a. and mav vroceed to au.estion 1/.b.
b. Arc you under ind1ctm1mt or information in any court for a l'elo11y, or any other crime, for which the judge could imprison yo\.1 for                                 Yes

C.
    more than one year? (See Instriictions {or Ou!i!stion I J, b.)
    Have you ever been convicted in any court of a felony, or any other crime, for which the judge could have imprisoned you for more                                   • 0
                                                                                                                                                                         Yes
    than one vear even if you received a shorter sentence including probation? (See lnstrnctions {or Question 11.c.)
                                                                                                                                                                        • tsl.
                                                                                                                                                                        n rvr·
d. Are you a fugitive from justice?                                                                                                                                     Yc:s


                                                                                                                                                                       n ~
e.      Are you an trnh,wful user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other controlled substa.noe?                       Yes

f.      Have you ever been adjudicated mentally defective (which includes a determination by a coiirt. board, commi.~.tion, or other lawful
        authority that you are a danger to ycmrse/f or to others or are incompetent to manage your own affairs) OR have you ever been                                  Yes     Na/
        committed to a mental ij1stit\.1tlon? (See ln.sm1ctions fol' Qw-,:.,tion 11.f)
                                                                                                                                                                       •       ISZl
                                                                                                                                                                       n ~
g.      Have you been discharged from the An11ed Forces under dishonorable conditions?                                                                                 Yes

h. Are you 5ubject to a court order restraining yoi1 from harassing, stalking, or threatening your child or an intimate partner or child

                                                                                                                                                                       • ~
                                                                                                                                         of                            Y1a:s
   such partner'? (See lnstmc:tion:s.for Qiie.~tion I J.h.)
        Have you ever bci.:n convicted in any court ofa 1ni.~dcmeanor crime of domestic violence? (See J1islrui·tionsfor Qtu,stlon I l.i.)                             Y~5
                                                                                                                                                                               fit
 I.
                                                                                                                                                                       n
        Have you ever rr;nuunccd your IJtiitcd States citi.-.cnship'?
                                                                                                                                                                       n ~
J·                                                                                                                                                                     Yes

k,      Are you an alir;n illegally in the United States?                                                                                                              Yi.:s

1.      Are you an alien admitted to the United States under a nonimmigrant visa? (See !nstn.i.ctions /01· Question 11.l.)                  Ifyou answered
                                                                                                                                                                       • Q,
                                                                                                                                                                       Yes
        "no" lo this question, do NOT respond w question 12 and proced to question 13.
12. If you are an alien admitted to the United States under a nonimmigrant visa, do you fall within any of the exceptions set forth in tile                            • [sJI V
    in£1rlJ!;tions? (If "yes," the licensee must complete question 20c.) (S12rJ. Instructions fi,r Questiuh 12.) (f question I1.l. is answ(!r(!d     Tu No;
    wilh a ''no" response, rluu1. do NOT respond lo questiQ11 J2 and proceed to question J3.                                                         Q           u ~f,1
13. What is your State of residence 14. What is your country of citizenship? (List/check mo1-e than 15. If you are not
                                                                                                                               a citizen of the United Statcsf-t-).
     (If any)? (See ltzslnu::tionsfor
     Question 13.)
                                                      i(
                                            o:e', applicab.l~. !fyou m-e~zen of the United States,              what is your U.S.-is~ucd. alien number or
                                            piou:d to questwri lo.)        United States of America             admission numbc:r?
          C.(;;    ..                            D
                                                 Other (Specify)
Note: Previous Ed1t1011s Ar~ Obsolet~                   Tra11sfcree (~01C;ontm}S0 :1 Next Page                                   ATI' Form 4473 (5300.\1) ])Qrl I
Page l of6                                            STAPLE IF PACES BECOME SEPARATED                                           Rovi,od April 2012



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I certify that my answers to Section A are true, correct, and complete. l have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. I understand that answering "yes" to question 11.a. if I am not the actual buyer is a crime punishable as a felony under
Federal law, and may also violate State and/or local law. I understand that a person wllo answers "yes" to 11ny of the questions 11.b. through
11.k. is prohibited from purchasing or receiving s firearm. I understand that a penon who answers "yes" to question 11.1. ls prohibited from
purchasing or receiving a tirearm, unless the person also answen ''Yes'' to question 12, I also understand that making any false oral or
written statement, or exhibiting any f"alse or misrepresented identific:ation with resped to this tnlmai:tiuo, is a crime punishable a!; a felony
under Federal law, and may also violate State and/or local law. I further understand that the repetitive purchase of firearms for the purpose
of resale t'or livelihood and profit without a Federal firearms license is a violation uf law (See lnstrm:tions.for Question 16).
16. Transferee's/Buyer's Signature                                                                                      17. Certification Date
                                                                                                                                                y--7-~ ~·
18. Type offirearm(s) to be transferred (aheck or mark all that apply):                      19, If sale at a gun show or other qualifying event
      D Handgun      rvjLong Gun
                     ~    (1·ijles or
                                            D See
                                              Other Firearm (Frame, Readver,
                                                  Instructions for Question 18.)
                                                                                     ett:.   Name of Event
                                                                                                                ------~----------~-~
                          shotguns)                                                          City, State
2011. Identification (e.g., Vi1-ginia Driver'.,- license (VA DL) or other 1ialid gavernment"issue.d photo identification.) (See lnstrucrions for Question 20.a.)
Issuing Authority and Type of Identification                Number on Identification                                        Expiration Date of Identification (if any)
                                                                                                                            Month          Day           Year
                                                                   t Lf-3[;-
20b, Alternate Documentation (if driver'.~ liaense or othe1· ident~fzcation dociiment does not show cur1·r:mt ,.esidence address) (See !11stn1ctions /or
     Q11esticm 20.b.)

20c. Aliens Admitted to the United States Under a Nonirnmigrant Visa Must Provide: Type of documentation showing an exception to the nonimmi-
     grant visa prohibition. (See lnstr11ctionsfor Question 20.c.)


         Questions 21, 22, or 23 Must Be Completed Prior To The Transfer Of Thi: Firi:annM (See Instructions for Questions 21, 22 and 23.)
7..111, Date the tran~feree's identifying information in Section A was transmlt- 21 b. The NlCS or State transaction number (i(p,-ovided) was;
       led to NICS or the appropriate State ag.cucy: (Month!D(ly/Year)
        Month          Day           Year
                                              )_(J( '
21c. The response initially provided by NICS or the appropriate State
                                                                                                     36
                                                                                             2 ld. If initial NICS or Stat.; ro~ponse was "Ddayed, "the following
                                                                                                   response was received from NJCS or the appropriate State agency:
                                                                                                  D
        D Denied          •     Delayed
                                [The_firearm(s) may be transferred on
                                 _ _ _ _ _ _ (Missing Disposition
                                                                                                        Proceed

                                                                                                  D Denied
                                                                                                                   _ _ _ _ _ _ _ (date)

                                                                                                                       - ~ - - - - - (date.)
        D Cancelled             lnfonn.ation date provided by N!CS) if State law                  D Cancollcd          - - - - - - ~ (date)
                                permits (optional)]                                               D                      3 busine~~ days.
                                                                                                           No resolution was provi,:lf;i;! within
21c. (Complete if applicable,) After the firearm was transferred, the following response was received from NICS or the appropriate State agency on:
                                 (date.).              D     Proceed              D     De11ied                 D    Cancelled
21 f. The name and Brady identification number of the NICS examiner (Optional)

                                                   (name)                                                     (number)
22.    •   No NJCS check was required because the transfer involved only National Firearms Act firearm(s), (See /nstn.tctionsfor Q11estion 22.)

23.    •    No NICS check was required because the buyer has a valid pennit from the State wher~ the transfer is to
            exemption to NICS (See Instruclions.for Q11estion 23.)
                                                                                                                                         take place, which qualifies as an

lssuing State and Penuit Type                        Date of fasuance (if ,my)               Expiration Pate Muny)                     Penn it Nurl?b~r (if any)


                                                 Section C - Must Be Completed Personally By Transferee (Buyer)
 If the transfar of the firE:arm(s) takes place on a different day from the date that the transferee (buyer) signed Section A, the transferee must complete
 Section C immediately prior to the transfer of the firearm(s). (Ser!. Jnstntctions.far Qu.eslion. 24 and 25.)
I certify that my answers to the questions In Seetion A of this fonn are still true, cm·...-ect and complete.
24. Transferee's/Buyer's Signature                                                                                          l5. Rei::ertiftcatton Date


                                                              Transferor (Seller) Continue to Next Page
                                                            STAPLE IF PAGES BECOME SEPARATED

                                                                                                                                             ATF Forrll 4473 (~300,9) Pa!'! I
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                                                                                                                                                                     USA00012900
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                                                                 Section D "Must Be Complet ed                                  By Transfer or (Selkr)
                        26,                                                      27.                                                    28.                                     29.                          30.
     Manufacture1· and/or Importer a/the                                  Model                                              Serial Number                         Type(pistol,revo/ver,ri_f!e,       Caliber or
   m.,mu/ac•ture,· and importer are different,
                                                                                                                                                                   sholgun, rece/1lftr, Jram11,        Gauge
          lhff FFL should include both)
                                                                                                                                                                   etc.) (See instructions far
                                                                                                                                                                   question 29)




  30a. Total Number of Fireanns (Pl~ase                  hamil18;Jtnting e.g.,                     one. two, lhn!e, e/c. Do 11ot i,se numerak )                    .J Db. Is any part of thi 5 transactio n a

 30c. for Use by FFL (See b1structi onsfor Question 30c)
                                                                                                                                                                   Pawn Redempt ion?              0  Yes~ No



                       Complet e ATF Form 3310.4 For Multiple Purchase s of Bandgun s Within
                                                                                                    5 Consecu tive Business Days
  3 I. Trade/COTJlorate name and address oftransf hor (seller) (Hand stamp may
                                                                               be 32, Federal .Firearms License Number (Must co111ain at /east first ,
       used.)
                                                                                      thrl;!e. and last five digits of FFL Number X"XX-XXXXX.)
                                      : ,- . __: ... .-, "·' 1·.-- . _..,.; ;
                                                                                      (H,md sramp may be used.)
                                          ·.,_   f,.•-   '•
                                                               ,· ;,.\   ·,. ~


                The Person Transfer ring The Flrearm (s) Must Complet e Question s 33"36.
                                                                                                          For Denied/C ancelled Tran~~ctions,
                                        The Person Who Complet ed Section B Must Complet e Question s 33-35.
I certify that my an$Wcrs in Sections Band D an: true, correct, 9nd complete
                                                                                    . I have read and understa nd the Notices, Instructio ns, and Definitio1h
on ATF form 4473. On the basis of: (1) the ~tatements in Section A (and
                                                                                 Section C if the transfer does not occur on the day Section A was com-
pleted); (2) rny verification of the identification 11otcd in question 20a (and my
                                                                                      reverification at th'! time of tran.sler if the tran~fer doe$ not occur 011 the
day Sectiot1 A was completed); and (3) the informat ion in the current State Laws
                                                                                        and Publishe d Ordinanc es, it ls my belief that it is not unlawful for
me to sell, deliver, transpo11, or otherwis e dispose of the lirearm(s ) listed on
                                                                                   this form to the person identified in Sectlon A.
33. Tran er(!r's/Seller's Name (Pleau print) 34, ,;}Jnsfer or' /Seller's Signature
                                                                                                    35. Transferor's/Seller's Title            36. Date Transferr ed
                 I   I.        t      ~                              l>t                    'I,n,..,.-c..,,.- ..__...


                                                                                                                        If you or the buyer discover that an ATF Fomi 4473 is incomplete: or improperly
                                                                                                                        completed 0.fl.:r the firearm has been tran~fetTed, and you or th, bi1ycr wish to
Purpose of the Form: The infor1na1ion and certification an this form are                                                make a record of yom· discovery, thon photocopy the inaccurate form and make
designed so that a person licensed under 18 U.S.C. § 923 may determine if he                                            any necessary additl • ns or revisions to rhe photocopy, You only should make
or she may lewf1,1Uy sell or i;l.elivcr a firearm ta the person identified in                                           changes to Sections 8 and D. The buyer should onl)I make changes to Sections
Section A, and to ale1t tht;? buyer of certain restrictions on the receipt and                                                                                                                            A
                                                                                                                        and C. Who~ver made tlie changes should initial and date the changes. The
 possession of firearms. This form should only be used for sales or transfers                                           cotrectcd photocopy sl1ould be attached to the original Fon11 4473 and 1·et.iined
where the seller ls licensed under 18 U.S.C. § 923. The seller ofa firearm                                                                                                                                as
                                                                                                                        pert of your permanent records.
m1,1st determine the lawfulncs~ of the t1·ansaction and mai11taln proper records
of the: transactio11. Conseg1Jently, the: seller must be familiar with th0                                              Over-tile- Counter 1ransaction; The sale or other disposi1ion of a firearm by
provi8ions of 18 US.C. §§ 921·931 and the regulations in 'l7 CFR Part 478.                                                                                                                                   a
                                                                                                                        5eller lo a buyer, at the seller's licellsed premises. 'fhi~ includes the sale or other
In determining the lawfulness of the sale ot deli-very of a lung _sun (rifle or                                         di~position uf a rlflc or shotgun to a nonre~idi;nt b11ycr on such pn::mi5e5.
shotgun) to a resident of another State, tile seller is presumed to k.uow
                                                                           the
applicable Slate laws and published ordinances in both the seller's State aitd                                          State Lftws and Pnbli5hed 01·dinantes; 'rhc publication (ATF P 5300.S) of
the buyi;:r'5 State.                                                                                                    Stale firearms laws ~nd local ordinances ATP distributes to liccnse~s.
 After tlu: seller has completed the fire~rm.~ trnnsaction, he 01· she must make                                        Exportntio11 of Firearm.~; The ::-tat~ or Cor11111erue Dupartmi;nts may require you
 the completed, orie\11al AYF l'onn 4473 (which im:lud(,s lh1c Notice!.1. General                                       tCl Clhtain ~
                                                                                                                                   li~~ns~ prior to export,
 !11.~lrncfions, and l)e_fi11itiom), a11cl ~ ,iy supporting documents, part
                                                                            of his 01·
 her permanent reco1·ds. Such Forms 4473 must be 1'et11i1wd for at least 20
                                                                                                                                                               Section A
 years. Filing may be chronological (/::J,v date.), alphabetic3l (by n(lme), ot
numerical (hy mmsactitm serial numher), ss long as all of tho seller's                                                  Question 1. T~ansteree's Full Name; The huyer must p~rsonally compl~te
comploted fot'ms 4473 ar~ filed in tho same manner. FORMS 4473 FOR                                                      Siction A of lhis form 0.nd certify (sign) that the answers are tru~, corr~.;:t, a11d
OENJED/CANCE;l..LED TRANSFERS MUST BE RETAINED: Ifthc transfer                                                          complete. However, if tl1i= buy1;r is unable to read and/or write, the ar1swers
of a firearm is denied/cancelled by NICS, or if for any ocher reason the                                                (orh&r 1han the signal!m:) may b~ completed hy another pe1·son, excluding the
transfer is noi complete after a NICS check is initiated, the licensee must                                             sollet. Two pcr~ons (other 1ha11 1/11,·.vdler) must then sign as witnesses to the
retain the ATF Fonn 4473 in his • r her 1·ccords for at least 5 years. Forms                                            buyer's answ~rs and signature,
4473 with respect to which a sale, delivery, or transfar did not take plate shall
be sepatately retained in alplrnbcrical (by 1tame) or chronological (b.11 dat'!- of                                     When the buyer of a fi1•earm is a corporation, company, ass(lciation, partnership
tran.'if1;1~t 's cenification) order.                                                                                                                                                                    ,
                                                                                                                        or other suvh busini=ss entity, an offi~er authorized tu act on behalf of the

                                                                   ---·--. ,                                                                                               ATI' Fur'm 4473 (S~nQ,9)
                                                   . (----·- r· . ()                                        DODOIG              006382                                                                Par1   I
                                                                                       r.                                                                                  R~vii~d April 2012
                                                 -" ·,1,,;               ~x...___x__ "-- ~- '""-_...___..,..___
                                                                                                  ,.           ,.,.:, /v-'\ F . . . --v-i-,_.c.,..___ l\ - · , .- \                         L-,

                                                                                                                                                                                                        USA00012901
    11/05/2017 16:52                             ACADEMY #41                     2104962040                                            #062                  Page 04/09
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          busin~ss must com    plete Section A of the fonn
          infonnation, sign Section A,                       with his or Ii.er personal
                                          and imach ~ written stalr;me                                                  the juri~diction where the t;onv
         penalties of perjuJ'y, stating:                                nt, executed under                                                                      ictioJ1 occurred, !hi:! perso11 has
                                          {A) the firearm is bcini; acq                                                 conviction has been expunged                                                     been pardoned, the
         and will be the property ofth                                  uired for th~ use of                                                                   or set asidri, or tl1e pia!l'SOn l1as
                                          ~t business entity a11d (8) the                                               (ih~ right ta ,iote, .1it on (1 )111:1~                                       hail their civil l"i).\hts
         of tlu1t busln~s~ entity, Jf !he                                  name and <1dorcss                                                                     mid lirild 1111/Jiic r1Jjice) take
                                           buyer's name in question l,                                                 rcstorla!d AND (2.) the per~on                                              n 11way and later
         seller m11st print the buyer's                                  b illegible, the                                                                    is nol prohibited by tl1e law
                                         11amo above t~c name wrillen                                                  the conviction occurred from                                               of the jurisdiction where
                                                                          by the buyer,                                                                       receiving or possessing firea
                                                                                                                                                                                                  rms,
        Question 2. CunC?IJt Residen
                                                                                                                       this exception should an8wer
                                                                                                                                                            "no" to { l .c, or 1 l .i., 11~ ~ppliuu! Persons subject to
                                         ce Addre~s: TJ.S. Postal abb                                                                                                                                  )le.            '
        acccptabk, (e.g,. S1., Rd., D,:,                             ri:viatiorts arc
                                         PA, NC. e1,·J A(idrcss cannot                                                 Que-~tion l J.f. Ad,judicatc<I
        box, Ccwnly and P~1·ish are                                     be a po~l c1ffice                                                                Mentally Defective: A rlete
                                                                                                                                                                                         rmination by a criur1,
                                     one und lh~ $ame,                                                                 board, 1,;ummi~~io11, 01' oth~r
                                                                                                                                                       lawful aulhurity thA1 a person,
                                                                                                                       sub11ornrnl i11l~llip;ence, or men                                 ,Is II resull llf marked
            If the buyer i~ ~ member of the                                                                                                               tal illnes~, iucom(letency, cond
                                                    Armed Forces 011 uctive duly                                      (I) i~ a danger to J1imself or to                                      itio11, or rH~1::a5c:
            fircam1 in the State where his                                             acquiring a                                                        othtet~; or (2) lacks the mental
                                                 or her permanent duty ~lation                                        or manage his own 11fthirs.                                             capacity to contr11~t
            does not rnsrdc :it his 01· hc;r                                          is locat~d, but                                                 This term shall include; ( l)
                                               pcmrnnent duty St!ltion, the                                           com·t in a criminal ca~c; and                                  a finding of insfinity hy
           his or her pennancnt duty stati                                     buyer rnust list botll                                                  (2) Those persons found inco                                a
                                                   on ad(1tcss and l11S or her resi                                   fotmu not g(rilty by reason of                                    mpelt11t to s(and trial or
           response: to question 2. lf you                                            dence uddrtss in                                                  lacf< of mental responsibility,
                                                  are a U.S. citizen with two Stat
           you should list your current                                                 es ofre sidt ace ,
                                              residence address in re~pon8                                            Committed to a M1?11tal Inst
           if)'Ill/ are buying a jire ami                                      e to quc~tion 2 (e.g.,                                                itution: A formal commitment
                                            whit!! .itaying at yottr w~ektm                                          mrmtal institution by a court,                                       of a person to a
          .vo11 shn u/d /Isl you1· addre£s                                     d hom e in State X.                                                   board, commission, or other
                                              In Stat e X In 1-e,1ponse to que.                                      tcm1 includes a commitm~nt                                       lawfo{ ll.uthority. Tho
                                                                                ~tion 2),                                                            w a mental institution invo
          Question 9. UQlque Personal                                                                                includes commltn,cnt for mcn                                 luntarily. The term
                                                  Jdentllkal'ion N1.11uh~r (UPlN);                                                                   t~I defectiveness or mental
          purchasers approved to have                                                      For                      commitments for other reaso                                     lllness. lt also includes
                                              i11fom1ation miiint-ained 11bo                                                                      11s, sucl1 as for drug use. 'fhe
         NICS VoluntaJ"y Appeal File                                           ut them in the FBI                   pc;rson inn merital in~tin1tion                                   1enn does not include a
                                            , NlCS will provide them with                                                                            for ob~e1-vatio11 or a voluntar
         ldentificution :Numbor, which                                            a Ui)iquo Personal                institution. Please also tefo                                    y admission to a mental
                                               the buyer should record in que                                                                     r to Question l J ,c, for the dc;t
         licensee may be ask.ed to prov                                             stion 9. T'l10                  per~on.                                                         inition of a prol1ibitcd
                                               ide the UPIN to NICS or Jhc
                                                                                  State,
        Qu~stion ll,a . Actual Tra.nife                                                                              EXCEPTION to 11, .f. NIC S
                                                 reB/Buyrr: for puq,oscs of                                                                              lmpro-.,,e1r1er1t Amendments
                                                                                                                                                                                          .,for of 2007; A person
        tl1e actual transferee/buye1· if                                            this forrn, you are             who h<1s been adjudicat~d as
                                             you i:iro purchMing the firolll'm                                                                          a mental defective or committ
        otfo;irwfae acqtiiring the firea                                           fol' your~df or                  instittrtio,1 is 1101 prohibited                                         ed to a 111erital
                                           rm for yourself (e.g•• Jtfdr!l!m/                                                                          if: (I) ll1c pc:rson wa~ <1djudlc
       paw11/rf!tri1wing it from w,isigrtm                                    11g the jiNt11·m .fmm                 dep artm ent or agency of the                                         ated or committed hy a.
                                                  l!r,t, firearm n!ff!~ winner)
                                                                                . You arc also the                                                        Fed eral Gov enim ~rit , such
       actual transferee/buyer if you                                                                               Depa11me11t ofVet~raii's Affa                                            as the Unh~d States
                                             ur~ legitimately purcba~ing                                                                               ir~ (''VA") (a~ o~posed to a
       for a third party. ACTUAL.                                             th~ fiream1 as n gift                 or other lawful Sti:ito authorit                                    Stat~ court, State board,
                                          TRANSfEREE/:BUYER EXA                                                                                        y); illlQ (2) either; (a) the prm
      Smith asks Mr. Jones to purchase                                          MPLES: Mr.                          commitment for mental inco                                             on's .idjudication or
                                                a firearm for M1: SmitJ1, Mr.                                                                         mpetency was set-aside or exp
      Joacs the mo11cy for the fire um                                          Smith gives Mr,                    iidj1Jdicati11g/cominittins agen                                         unged l'.ty the
                                              .                                                                                                        cy; (b) the person l1as been
      FEREE/BUYER. of tlie firearm Mr. J"o1\es is NOT nu: ACTUAL TRANS-                                            dischar~cd from all 111andat
                                                                                                                                                    riry treatment, ~upcrvi~ion. or
                                                                                                                                                                                        fully rcleaslld or
                                                :ind must a,)swcr "NO" to ques
     license~ may not tr~nsfer tht:                                                  !im1 11.a. The;               ar,e11cy; or (c) the per~on was                                      monhuring by thr
                                           tlrearrn to Mr. .lom:~. Ifow~vc                                                                              found by the ag~ncy to no long
     l;lOCS to buy u fi!'Cl'll"lll
                                   with his tJwn money to give                 r,  if  Mr. J:1row11                mental l1calth cnr1dition thal.                                            er wfft:r from lhr::
                                                                      tu Mr. BIQck as a pr,;:,scnt,                                                   served a~ the basis r,f ll1c- initi
    M,·. Brown is rhc actual tn1nsferc                                                                             Pcr~ons wllo lit this cxc~ptio                                        nl udjudicalion,
                                                e/buyc-r of the liroarm and shou                                                                       n should a11swer "no" to Item
    "YES" to question 11.a. 1-fow                                                    ld answer                    exception doc~ 1101· apply 10                                                11.r. This
                                            c=ver, you may no! tr~nsfor ~                                                                           any person who was adjudica
    person you know or have reas                                              firearm to nny                      reason of insanity, or bas~d                                         ted to bi: riot guilty ])y
                                           onable cause to believe is proh                                                                          on lack of 111enta! responsibilit
    U.S.C. § 922(g), (n), or (x).                                                ibited under 18                  l"ellt to Mand Itial, in ,my c;l'im                                   y, or found incompe-
                                         Plea.se note: :EXCEPTlON:                                                                                   iru11 case or und.llr the UnifN11
    up a repaired firearm(s) for                                              lf you are picki11s                 Justice,                                                                1 C• de (If Military
                                        another p~i·son, you are not
    I La. and ruay proceed to que                                         required to an~wcr
                                          stion 11.b.
                                                                                                                    Que~tlo11 lt.b _ Dtt lnit ion
                                                                                                                                                     of Restraining Order: Undi
     Qu~stlon I l.b, • l 1J. Deffnit                                                                               fircanm may not be scld to                                             a!t 18 U.S.C. § 922,
                                         ion of Prohibited Persfln:                                                                                 or received by persons subject
     U.S,C. § 922 prohibits the ship                                    Generally, 18                              (A) was issued after a l1ci:iring                                         to a court order that:
                                          ment, transportation, rec-eipt,                                                                                 which the parson received actu
     or affecting intersiaw commer                                         or possession in                        an oppottunity to p~rtkipate                                                  al notice of a~d had
                                        ce of a firca1·m by one who;                                                                                 in; (B) re:str'ains such person
     of a misdemeanor crime of dom                                      hil.8 been convicted                       Or' threatening an intim                                                from harassing, stalking,
                                           estic violence; has been con                                                                      ate partner ol' child of such intim
    or any other crime, punisllablo                                       victed of B felony,                     cnga!;ing in othr::r conduct that                                    ate partner or persoa, or
                                         by lmprisonmenl for a term                                                                                       would placl;! an intimate part
    (tJ1is dol!S not i11cl11de Stat                                     exceeding one year                        fear of bodily injury to t!Je part1                                          ner in n::as• nable
                                    e mis dem e,m ors p1mishable                                                                                         1er or chll<l; 1111d (C)(i) include
    two yeu.r:s or less); is a fugitive                             by imp tiso nnr ,mt of                        ~uch pia!rsori represents a cred                                              s a finding that
                                          from justice; is m1 unli1wful                                                                              ible threat to the physical safe
   adclicteil to, marij 11an.1 or any                                   user of, or                               p-artner or child; or (ii) by its                                         ty of such intimate
                                       depressant, stimulant, or narc                                                                                 ternis explicitly proh1llH~ the
   other comrolled substance; has                                       otic drug, or iiny                        or threatened use- ofp hys itat                                             use, attempted use,
                                         been adjudicated mentally defe                                                                               force against such intimate part
   been committed to a mental                                                ctive or has                         would r·ca.1onably be expecte                                                 ner or child th.al
                                     instilntion; has been di~chat·g                                                                                 d to cau~e bodily injury, An
   F'orces under dishono1·ablc c-on                                  ed li:om the Amied                          a person is: the spou~e or form                                           "intimate partner" of
                                        dition~; has renounced hls or                                                                                  er spouse of the person, tho
   citizenship; is an alien illegally                                    Iler U.S.                               the person, or an individual                                               parent of a child of
                                         in the l.lmted Statos or an alie                                                                          who cobabiMcs or cohabitatin
  United States under a nonimm                                             n admitted to the                                                                                              g with th~ person.
                                       igrant visa; or is subject to cert
  orders. Furthermore, section                                            ain restraining                        Qur~Hon l l.i. Delillltiu-n of
                                      922 l'rohibits the ~hiprne11t,                                                                                 Mlsd1?mea11or Cri me of l)Qm
  r·eceipt in or uffecting intcr~ta                                  transport11tion, or                                                                                                      estlc Violence: A
                                     t~ commerce of a firearm by                                                Pedel'al, State, lo(;ill, or trib2
 indictmem or information for                                         om; who is Linder                                                            ! offense that is a misdemean
                                      a felony, or any other' 0rimc,                                            or tribal law and ha~, as !Ill                                           or under F~dcral, State,
 imprisn111r1~nt for ~ lcrm ex(~                                       punishable by                                                              eler't'lcnt, the nse or attempted
                                     cding 011~ year.                                                           the tlm:iitcnerl trsc of a de11dly                                       ute of physical force, or
                                                                                                                                                      we~pun, co111n1iltcd by ~ curr
                                                                                                               parent, ot !fUardi.1n of the vict                                             ent ot former wuusc,
                                                                                                                                                    im, by a pi:rson with whom
 Questinn 11,b. U11dcr Ind ictm                                                                                r.l1ih.J in co111mo11, by a person                                        th~ victim ~hares a
                                  ent nr Info rma tion or Coq                                                                                         who is cohabitating with, or
 Cou rt: An indictment, info                                  vlcted In any                                    the victim as ll spouse, pnre                                               has cohabited with
                             rmslion, or cottviction in any                                                                                      nt, or guirrdian, or by a pers
 local court. An infonnation                                Federal, State. or                                a ~ou s~, p11rent, 01· guardian                                        on similarly ~ltuatod to
                             is a fonnal accusation of a crim                                                                                       of the victim. The •erm i11cl
 prostcutor.                                                  e vel'ified by a                                that have as an clomenl tl).e                                             t1des all misdemeanors
                                                                                                                                                 use or attcmjltci;I use of pl1y
                                                                                                              threatened use of a deadly wea                                         sical force or the
                                                                                                                                                     pon (i,.g,, assm dl u11d bat1e.ry)
EXCJ;PTION ro 1I.e. a11d 11.i                                                                                 comrnitted hy one of Ilic dcfi                                                 , if the offonse is
                                  .: A person who has been con                                                                                    n~d paitie~. (See Exception
felony, m· i:my other crlme, for                                    victed of a                              person who has been c• nvic                                               to ll,c , mid JI.i. ) A
                                  whicl1 thr;: judge could 11~ve                                                                                 led of a mi~dcmeanor crime
person for moro than onr; y~ar                                    imprisontd the                             is not prolubitcd unles~: ( l)                                           of domestic violence also
                                , or who has been convicted                                                                                       the person was l'epresla!nt~d
crime of domestic. violence,                                     of a miac:lenicanor                         the 1·ight to a lawyer; or (2)                                           by a lawyer or gave up
                              is not prohibil"ed from purchasi                                                                                  if the pcr~on was entitled to
possessing a firearm if; (1)                                      ng, ~ceiving, or                           01· gave up the right to                                                a jury, was tried by a jury,
                              under the law of                                                                                            a jury trial. Persons subject
                                                                                                             m1swef "no" to l 1. i,                                            to this exception should


Page 4 of6                                                                                     DODOIG            006383
                                                                                                                                                                        ATF Form 4473 (~JOO.<;,) Parr
                                                                                                                                                                                                      I
                                                                                                                                                                        R~vi~cd Ap ri I 20 l 2

                                                                                                                                                                                                   USA00012902
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 iestlon 1l.l. An alil:n admitted to the United States under a mmimmigrnnt                   GCA limitations as any othe1· llream,s. See Section 921(a)(3)(b), 18 U.S.C.
 1a include~, among others, pei·sons visiting the United States temporarily for              Section 922(b)( I) makes it unlawfol for a licensee lo sell any firearm other than a
 sini;:55 or pleasure, persons studying in the United State~ who maintain a                  shotgun or l'ifle to any person under the age of 21. S11ice a fralll~ or receiver for a
 ;idcncc ebr• ad, !ll1d certain temporary fon;ign workers. The definition dDes               firearm, to include one that can only be made into a 1011g gun, is a "firearm other
 )T include permanent resident aliens nor doe~ it apply to nonimmigranl                      than a shotgurt ,)I' ri ne." it cannot be trnnsfom:d to anyone under the age of 21.
 ens admitted Co the United States pursuant to either the Visa Waiver                        Also, note that multiple sales fonns arc not 1·eqttir·ed for frames or receivers of any
 ogl'am 01· to re!!;uhitions otherwise exempting them from visa requ11·cmc11ts.              firearms, or pistol grip sl1otguns, since tl1cy are not ·•pi~tols or rcvolvel's" under
                                                                                             Section 923(g)(3)(.i).
 1 illlen ~dmilled to tile Unirnd States under R 11m1immig1·at1t vis,·1 whu
 ipond~ '"yes" to que~liun t 1,1. mu~t provide a response In que~tinn l?.                    Question 19. GuJJ Show~: lf sale at gun show or other qualifying event
 :!icating whether he/she gm1lifie~ under an exception.                                      sponsol'~d by any m1tiorn1I, Stat,;, or local organization, as authori7.ed by 27 CFR
                                                                                             § 478. 100, tl'Je selle1· must recunl llw name of ,:v~nt and the location (city and
  ~estion 12. Eiccptions to the Noniminigrant Ali1;m Response: An alien                      Srate) of the sale in que~tion 19.
  mitted to 1·he United State~ under a nonim1nigral1I vise is not prnhihited
  lm purchasing, receiving, or pos$cssing a firearm if the alien: (I) is in                  Questjoo 2011. ldent!Jlcation: Liat i~suing authority (e.g., State, Cow11y 01'
  •sscssion of a hunting- license nr pe1mit lawfully i9sucd by th~ Federal                   Municipality) and type cf·identif1calio11 pr~sented (e.g., Vitgi11itr d1·iver's license
  )VCl'llJ\1<:nt, a State, or local government, or en Indian t1·ibe federally                (VA DL), or tllher valid gov&1w11l!nt-is.rned ident/fic.ation).
  ~csnizeo b)I the Bureau of Indian Affairs, which is valid and unexpir~d; (2)
 1s admitted to !he United States for lawful hunting or sporting purpo~e~; (3)              Know Yo111· Cu~torn11r: Before a licensee 111ay sell or deliver a fireann to a
  s received a W!liver from the prohibition from the Attorney General of the                nonlieemce, the lic~nsee must establish the identity, place of residence, and
 ,ited States; {4) is 1111 official representative of a foreign goverrtt'r'lllrtl who i~    age of the bnyer. The buyer must provide a valid J;lOVcrnm~nt-i~~ued photo
  credited to the United States Government or the Govern.mcnl's mi~sion to an               identification to the 11eller that contains the buyer's name, residence address,
 temntional organization having its headquarters in the United States; (5) is               and date of birth. 1hc: licensee must record the type, identification number,
 . route lo or from another country to which that alien i$ !lccrcdited; (6) is an           and expiration date (ifanJ~ of the identificatioll in question 20.a. A driver's
 ficial of a foreisn government or a distinguished foreign visitor who ha~                  lice11se or an identification card iSS(i~d by~ State in place of a license is
 ,en so dc8ignat\!d by the Department of State; or (7) is a foreign law                     acceptable. Social Security ~ards are not acceptable because no address, dat~ of
  forcement officer of a fri1moly foreign government entenng the United                     birth, or photograph is shown on the cards. A combination of governmertl-
 ates on official law enforcement business.
                                                                                            issued documents may be provided. For e,rnmple, if a U.S. dti:r.en has two State~
                                                                                            of residence and i8 trying to buy a handgun in State X, lie may provide a driver's
:rsons subject to one of !h~se exceptions should answer "yes" to question~                  license (showing Iris ,wme, date of birth, and pholograph) issued by State Y end
.. I. and 12 and provide documentation such as a copy of th~ h\Jllth1g license              another government-issued documct1t (.~11r.h a., a ta-,: doc11ment) from State X
  lctt~r b'Titnting the waiver, which mu~t be recorded in 20.c. If the trnnsft:l'~e         showing his rnsidencc addrus~. If the! buyer i~ a me!mbe?r of the Armer;! Forc~s on
11,w1·J answere<l "y~s" to this question, thG licensee must complete 20.c.                  active duty acquiring a tircal'm in the State where l1is or her 11errnan,mt duty
                                                                                            station i~ locater;!, but Ile 01· she has a driver's 1Jce11se from another State, you
,e ~eller should vel'ify suppurlin~ documentittion proviocct by the pmel!ascr               shou((l Hsi Ille buy~r's 111ilit,try idt:11tifiG.11iut1 ~t1rd mid uffai11l uru,=rs shuwing
1d must attach a copy of the provided rlocumentation lo this ATF Form 4473,                 where hi~ or her pem,anent duty station i~ locnted in re~pon~e to question 20.a.
tearm~ Tnmsadion l{ccorct.
                                                                                            Question 20.b. Alternate Documentation; Licen~ec5 may accept a combination
uestlon 13. State of Rtsidcnci;; The State in which an individual i·esides.                 of valid government-issl1ed docume11ts to satisfy the idenlification document
n individual resides in a State if he or she i~ present in a Stat~ with the                 requir~mc11t~ of the law. rl,e ri;:g,tired valid government-issued photo identifica-
tention of making a home in that Stat~. If en indivioual is a memb~r of the                 tion document bearing the name, photograph, and date of birth of transferee may
rmed Forces on active duty, his or her State of residence also is the State in              be supplemented by 11no1her valid, government-issued document showing the
hich his or !Jet· permanent duty stati(\n i~ located.                                       !rnnsi-eree's residence a(ldress. This alternate documentation should be reeoroeo
                                                                                            in question 20.b., with issuing euthority and type of identification presented. A
                                                                                            combination of government-issued documents may be provided. For example. if
 you arc a U.S. citizen with two States of residence, you should list your
                                                                                            a U.S. citizen has two Slates of residence and is trying 10 buy a h11rtdg11n in Starn
1rrent residenc~ address in response: to question 2 (e.g., !(you are ht1yi11g a
                                                                                            X, he may provide a drivel"s license (showing his name, dare of blnh, muf
·earm while staying at your weekend home irr Sime X. you ,1•hould h~t yoiw
                                                                                            phologmph) issued by Stat~ Y and another gov~mmcnt-issued document (Juch as
{dress In State X in responJe to qul!stion 2.)
                                                                                            a tax docurnenl) from State X showing his. residence address.
uesdon 16. Certifkation Definition of Engaged in the Bu~incss; Under
                                                                                            Question 20c. Documentation for Allens Admitted to the United St11tcs Under
l U.S.C. § 922 (a)( l ), it is unlawful for a person to engage in the business of
                                                                                            11 Nonimmii:rant Visa; Sec instructions for Question l I.I. Type~ of acceptable
:a.ling in fircartM without .i license. A person is ~nsagcd in the busine~s of
                                                                                            documents would includi: a valid hunting license lawfully i$Sued irt the United
:allng in firearrn11 if he or she devotes time. attention. and labor lo dealing in
                                                                                            States or ll lett~r fj·om the U.S. Attorney Geneirnl granting a waiv~r.
rearms as e res;ulnr course of traoe or business with the principal objective of
velihood and profit through the 1·epetitive purchase and rc5nlc of firearms, A
:ense is not required of a per~on who only makes occasional sales,
                                                                                            Question(~) 21, 22, 23, NICS BACKGROUND CHECKS: 18 U,S.C. 922(t)                     *
                                                                                            n:quirns that prior lo tran~fcrring any fircaim lo nn unHcenscd person, e licens~d
drnngcs, or purchase~ of fir~arrn s for the enhancement of a personal
                                                                                            irt11)ortel'. 111anufactul'er, OI' deiilel' 1'1'1usl first contact the Natiot1al ln~tant Criminal
1llection or for a hobby, or who sells 1111 or pert of his or her pcr~onnl
                                                                                            B!i.ckground Check System (NlCS). NlCS will advise the licensee whether the
illcction of fircanns.
                                                                                            ~y~tcm find~ uny infonnation that the purcha~cr is prohibitetl by luw frum
                                                                                            poss~s~ini:; o<' ,·eceiving n fo•t!~1•1n, Fof JlllfJlCl-~~s i'lfthis rnrm, co11tacts tc, NlC:S
                                    Section D                                               include contacts to Slate agencies designated to conduct NICS checks tor the
                                                                                            Federal Government. WARNING: Any seller who trnnsfei·s a fil•eatm to a11y
1ues.tion 18. Type of l?\rea.rm(s): Check all boxes that apply. ''Other''                   p~rson th~y know or have reasonable cause to believe is prohibit~d from receiving
:fors to frames, reeei v~rs and other firearms !h1H arc not either handguns or              ot· possessing a !hcatm violates the law, even if the s~ller has complied with the
mg guns (rifles or shotgurts), such as firearms having a pistol grip that expel             b~clq!!round chl;!cl( requirl;!rne111~ of the: Brady law.
 ,hotgun shell, ot· National Firea!'m~ Act (NPA) fircanns.
                                                                                            Ar\er the buyer Im~ completed Section A of lhc form ond the licen~ee has
· e frame or receiver can only be made into a long gun (rij/~ or shotgun), it is            comrlctcd questions 18-20, and before transferring th~ firearm, the licensee, must
ill a frame 01· receiver nut a handgun or long i;iun. However, thl;!y still are             contact NlCS (1~cul bdo.,ijor N!CS check excepf/011s,) However, the licensee
lircsrrns" by oennition, and subject   10   the same                                        ~hould NOT contact NICS end ~hould stop the transaction if: the




                                                                                           DODOIG      006384                                       ATP Fol711 447~ (~300.9) P•t'r I
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    FBI NJCS E-Check - Confirmation Acknowledged

                                                     DEVIN KELLEY
                                                     NTN: 36RMN9Z
                                                   04/07/2016 17:59:44
                                                    The following response
                                                      was confirmed with
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   FBI NICS E-Check - Confirmation Acknowledged
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                                                    DEVIN KELLEY
                                                    NTN: 36RMN9Z
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                                                            NICS:
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                                                                                                      .. ·· . firearm Transaction .Checkf.ist ... · .. · .·
                                                                                                1•• I•: I••/ ;-... ~t /•: •;   •.,i-,•• ;~ .~,.:• •• •' '• ~•   ,:!~:•.~\•~a ,J:, •~ ;..   <:<.:'i::: },:~;.-Ii) /•}•i,,•:"•,•t .":   ;,:•\• •~•1•   \•,ii,°:••;, ...•.:,.:-   ;,..::,;'.,:i,/~.1:t•
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                                              f\           /v/\/            kw ,r;v                                                                                                            Y7rl                             IJv.l-,                                    >cf..,,
                            Customer Name: - ~ 1 \/                         l \VL.-1_,,V L                                                    _            Phone#                            i :f/                    ,/&u::L·-S (s                                                   -{-
                            ID Type: , . ,     c--cl j) L.                          ID#        {     cf? l 7-06 2~                                                            Exp Date:                       d-:::fa:-J-tJ Ji1.1f expired, stop sale)


                            Does the customer have valid, UNEXPIRED government issued photo identification ?
                            Does the customer meet the minimum age (21) and residency requirements for a handgun, pistol"~rip firearm,
                                                                                                                                       or receiver
                            transfer?
                            Does the customer meet the minimum age requirement (18) for a long gun transfer?

                           Did the customer provide a valid, UNEXPIRED govt. issued photo ID containing their name, current home address,
                                                                                                                                                  and a
                           date of birth?
                           If no, did the customer provide valid government Issued supplemental documentatio n such as a voter registration,
                                                                                                                                                  vehicle
                           re8istration, property tax bill 1 hunting/fishi ng license, or a change of address form from the Dept. of Motor Vehicles?
                           Is the customer a US Citizen? If yes, skip to STEP 4.
                           ls the customer a Resident Alien? lf ye$, did the custorner provide an Alien Registration Number (AR# or USCIS#)?
                           Is the customer a Nonimmigrant Alien admitted with a Visa? If ye5, did the customer provide a valid 1-94 number
                                                                                                                                                and a valid
                           state hunting license from any US state (cannot be ternpora )?

               N   10.     Did the customer complete each required section of the Form 4473?
               N   11 .    Is question 11 a answered correctly?
               N           Are questions 11 b through 11 k answered corrl.'!ctly?
               N           Are questions 111 ft Que~tion 12 answered correctly?
                           Has the customer signed and dated the Form 4473?

                           Did the customer provide a valid, UNEXPIRED concealed handgun permit with current home address to bypass
                                                                                                                                           NICS?
                           concealed handgun license may be used as an exemption to a NICS background check only if it is issued by one
                                                                                                                                            of the
                           following states and is presented In the same issuing state; Texas, South Carolina, Georgia, Arkansa$ Mississippi,
                                                                                                                                1              North
                           Carolina, Kentucky, Kansas (must be issued on or after July 1 2010), and Louisiana (rnust be a 5 year perrnit issued
                                                                                         1                                                       on or
                           after March 9, 2015).
                           Issuing State__ ____ CHL/Perrnit #_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                           lssu@ Dat~ (if applicable )_/__/ ___ Exp Date__ / _ / _ __
                           NC ONLY - For handgun transfers; Did the customer provide a valid pistol purchase perm1t? Has the permit been attached
                                                                                                                                                  to
                           the Form 4473? (Note'. If the customer has a NC concealed handgun license, the permit is not required.)
                           Did the customer receive a Proceed response from NICS or the POC?
                           Has the NICS/POC Final Status printout been attached to the Form 4473 (NJCS - detailed printout)?

                           Has the customer inspected the firearm to make sure it is the correct model, caliber/gauge , and to ensure there
                                                                                                                                             o1re no
                           issues with the firearm7
                   20,     Has the manager inspected the firearm to the Form 4473 to make sure the correct manufacture r/importer, model,
                                                                                                                                                serial#,
                           firearm type, and caliber/gauge have been docurnented correctly on lines 26 - 30 on the Form 4473? This information
                                                                                                                                                   must
'          I
                           come directly off of the firearm <1nd match the Electronic A&.D log. Report any discrepancies to Firearm Cornpli;ince.
's,J_,.,-N         21.     Has the manager verified thil.t the serial number of the firearm matches the firearm box?
(..J.,/ N 22.              Has the rnanager verified that there is ,m owner's manual in th~ box?
·:._-:r:N          23.     Has the manager examlMd the customer's paperwork for accuracy and completeness?
    Y.; N          24.     Has the manager verified the Final Status detailed printout rnatches the customer's information on the Form 4473 and the
                           status is a PROCEED?
    Y ·N           25.     Has the mana r VERIFIED, pri ted his/her name LEGIBLY and signed the Form 4473?
,.. ,)
Manager Printed Name
                                           J(e .\L · · ··· · · --
                                                                      ,A (:..( ~(
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                                                                                                                                                    Date _ _ _ _ _ _ _ _ _ _ __       L.! -, ·7 .- \ le
                                                                                                G"'>.·4 r,.1     Trans# ....,"7.c··1 q                                                      d                                                                           C
                                                                                                                        '7
Manager Signature                                      <-: __ ,..          ·····.~~·-------..._
                                                                                        ~ Reg#,).L.          ,.,
                                                                                                                                                                                                                                                                               7
                         0 e;-, - [,i   '-./
Serial #
Revised August 2015
                         OJ,,...___ )U.b :.C..--:S                          ;~U# (Q~s {l(2fj:J -                                                                                     (11st .idditional firearms on back of form)




                                                                                                                                                                                                                                                                                        USA000129 07
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                                                                                                                                                               0MB No, 1140-0020
  U.S. Department or Justice
  Bur:au of Alcohol, Tobacco, Firearms and Explosives                                       Firearms Transaction Record
                                                                                                                                  Ill III Ill Ill IIIIIIIIII Ill 111111111111111
  w.~ ••.,..." ~~ You 111ay not receive a firearm pro 1 1ted by Federal or State law. The Information you provide wW be used to                            Transferor's/Seller's
  determine whether you are prohibited from rcceivlne a firearm, Certain violations of the Gun Control A.ct, 18 U,S.C. 921                                  Transaction Serial
  et. seq., are punishable by up to l 0 ycan; irnpr'isoninent and/or up to o $250,000 fine.                                                                  N1in1ber (If any)

  Read the Notices, Tnstr11ctlon~, and Definitions on this form. Prepare in original only at tile lil:cn~<.il prcmht:~ (''licem,¥d premises" Electronic
  i,1c/,,des husltie,~i; remporarily l'Onducrcdfrom a qualifying gun 1,/l(m.r (Jr event in. llie .tat,w SttJ.te iii which tlit!. lkensed premlfi!S i.f
  located) unless the transaction qualifies under 18 u.s.c. 922(e). All cntiics must be handwritten in ink. "PLEASE PRINT."
                                                         Section A - Must Be Completed Personally By ansferee/Buyer
   1. Transferee's/Buyer's Full Name ({f legal namf;! co11tal.r1.s tm 11-1/tial 011~v, record ''JO'' f!fter the initial. lfno middle initial or name, mc.ard "NMN'-'_)
   Last Name (J11d11ding ~·uffi;,;; (i;!,g., ,h: S1: l!, 111))    First Name                                                      Middle Name
  Kelley                                                           Davin                                                    Patrick

  2. Current State of Residence and Address (U.S. Postal abbr11viation5 llt@ 9f!ceptable. Cannot be a post office box.)
  Nu1nber a1id Street Addrnss                      City                                            County                                                    Stati::     ZIP Code
  2825 Fm2722                                                      New Braunfels                                     Comal County                              TX          78132

  3. Place of Birth                                                            4. Height 5. Weight         6. Sex            7. Birth Date
  U.S. City and State
  San Marcos, TX
                                           -OR-   IForeign Country              Ft. -5 - -
                                                                                In. 10
                                                                                            (Lbs)
                                                                                            245
                                                                                                            IBJ
                                                                                                            D
                                                                                                                Male
                                                                                                                Female
                                                                                                                              Month
                                                                                                                                 02
                                                                                                                                               I   Day
                                                                                                                                                    12
                                                                                                                                                                       IYe~
                                                                                                                                                                        1991
  &. Social Security Nl1mbcr (Optfonal, butwitf /wlp prev(;!nl mi.~ldentificatlon)           9. Unique Personnl ldentiftcati(ln N11mocr (UPIN) if applicable (See
   634--24-5484                                                                              lnslrw.:1/ons_for Question 9.)

  l 0,0.. ~ttinicity                        IU.b. Kacc (In addition to ethnicity, select on.e tJr more race m 10,b. 8(1th JO.a. uhd 10,b, 1'1Ullt be IJIISWttl'ed.)

   O Hispanic or Latino                     D American Im.liilli ot Alaska Native D Black m· African Americ1m                                   IK]    White
   [!]    Not Hispanic     OT   Lr-itino    D Asian                                    D Native Hawaiian or Other Pucific bh1ndcr
  11, An$wer' the follow111g que~tions by checking or marking 'yel'" or ''no" in the buxc~ lo the;: right of the questions.                                                   Yes No
  a.   Are you the actual transferee/buyer of the; fin.:am1{~) h~h:d on this lorm?--wirnlng: You arc not the actus1I transferee/buyer i1"you
       arc acquirini;:: th~ firearm(~) on b~half of anot11er person. lfyoo are not the actual transferee/buyer, the llcengee cannot transfer
       the ftrearm(s) to you. Exl·eplion: Ifyou are picking up a re.paired.ffrearm(s) far another person, you are not required to answer 11.a.
                                                                                                                                                                              00    •
       and may procl!-ed to quE?st/on 11.b. (See instructions for Q11esriot1 /I.a.)
  b.     Are you under indictment or information in any court for a felony, or any other crim~ for which the judge could imprison you for
         more tha.11 one year? (See /r1srn,_crions_/or Question 11.b.)                                                                                                        •     [ID
         Have you ever been convicted in any court ofa felony, or any otl1er crime for which the judge could have imprisoned you for mon:
  C.
         than one year, even if you received a shorter sentence including probation'/ (See lnslrudions_for Qut:Sllon I I.e.)                                                  •     [ID

  d.
  e.
         Arc you a fugitive from justice? (See lnslr11cfions.for QL11!slio11 11,d,)
       Are you an unlawful user of, OT addicted to, manJui!l1ia or ,u1y depressa11t, stinmlant, narcotic drug, or any other controlled substance?
                                                                                                                                                                              •     00
       Warning: The use or possession of marij Ulmll remai,n unlawful umh!r Fedl!ral law regardless of whether it has been legalized or
       dccrlrolnallud for medl~lnal or recreationi.l purposes in the st:11te where you re~idl!.
                                                                                                                                                                              •     00
  [.    Have yo11 ever been adjudicat~d as a menial defective OR lmvc you ever been committed to a mentul institution? (Se(! /nslruc.lians
       for Question 11 j;J                                                                                                                                                    •     00
  g.
  h.
         Have you been discharged frgm the Anned Forces under dishonorable conditions?
         Arc you subject to a coun order restrnining you from h11r11ssing, sb1lking, or thteatening your child or an intimate partner or child of
                                                                                                                                                                              •     [x]

         ~11ch partner'/ (Ser! /ns/ruct/011sfar Question ll .h.)                                                                                                              •     IBl
  i.
  12,a,
         Have you ever been convicted in any court. of~ misdemeanor crime of domestic violence? (See lnstructfrms_for Question JJ.i.)
                         ..
          Country ofC1t1;,:~mh1p: (C/u'!1:k:IU.~r.11wre lhan one, /f"ap1,llcah/s. Nationals q/'the Untted States may check U.S.A.)
                                                                                                                                                                              •     [8]

         ~ United States of America (US.A)                D Other Country/Countrii::~ (Spec.ijj,):
                                                                                                                                                                              Yeo   Nn

  12.b.       Have you ever renounced your United States citizenship'!
                                                                                                                                                                              • [Zl00
  12.c.        Arc you an alii::n i!ll!gally nT unlawfully in the U11iled Slates?
                                                                                                                                                                              • !Kl
  12.d.l.     Arc you an alien who has been admitted to the United States under a nonimmigrant visa? (See lnstr11ctiv11sfvr Qut!sliv1112.d.)
                                                                                                                                                                              •
  12.d.2.     lf''yi:s", do you fall within any of the e~oeptions stated in the instructions'?                                          [Xl NIA
                                                                                                                                                                              • •
  13. If you are an alien, record your U.S.-lssued Alii::n or Admission number (AR#, USCJS#, or· 194#):
  Previous editions Arc:   Obsold~                                 Tran~ferl!l!/Buyl!r Cnntinui! t(I Ne:,,:t Pllge                                 ATF Farm 4473 (5300.9)
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   I certify that my answers in Section A are true~ correct, and complete. I have read and understand the Notices, Instructions, 11nd Definitions on ATF F.orm
   4473. I und~rstand that answering ''yes" to question 11,a. if I am not the actual transfcrcc/b11ycr is a crhnc punishable as a felony under Federal law, 'i!nd
   may also violate State and/or local law. I understand that n person who answers "yes" to any of the questions 11,b, through 11,i ,rnd/or 12,b, through 12.c.
   is prohibited from purcbllsing or ncciving a fiRann. I understartd that a person who answers ''yes" to question 12.d.1. ls prohibited from receiving or
   possessing a firearm, unless the person answers "yes'' to question 12.d.2. and provide~ the documentation. required in 18.e. I al~o understand that makirtg
   any false oral or written statement, or exhibiting any false or misropNsented identification with CCllpcct to thh tra05ai;tion, i5 a crime puohhabk all a
   felony under Federnl Jaw, and may al!IO violate State and/or lo<:al law. I further understand that the repetitive purchase of firearms for the purpose of
   r1.~al1; for livelihood ~11d profit without a Federal fireann~ lkeni,;e is a violation of Fcdi2ral law. (Sell /1Wruetlo11s.for Q1.111stion. 14.)
   14. Trnnsforcc's/Buyer's Sig-nature                                                                                               l S. Certification Dute
                                                                                                                                            10/1812017
                                                     Section B - Must Be Comph!ted By Transferor/Seller
   16. Type offireann(s) to be transferred (check or mark all that app~y):     17. Iftranster is at a qualifying gun show or event:
         ~ Handgun         O Long Gun O Other Firearm (frame, receiver, dt.                  Name of Function:
                                  (rifles or        See lns1r11cfio11s for Question 16.)                          -------------------
                                  shotguns)                                                  City, St.ate:
   18.a. Identification (e.g., Virginia Driver 1· license (VA DL) ar ather valid gover'llrne1tt•l,m1ed photo identification.) (Set Jnstructio11s for Question 18. a.)
   Issuing Authority ~nd Type of Identification              Number on Identification                                Expiration Date • f Identification (if any)
                                                                                                                     Month           Day             Year
   TXDL                                                           25828192
                                                                                                                              02              12              2024
   18.b. So.pplemental Government Issued Documentation ({(identification doc11mli!nl does nat show rnrronl ro.ridence uddress) (See lnstructlrmsfor
         Quli!stion J8,b.)

   18.c. Ex:ccption to the NonimmigrantAlhm Prohibition; lfth~ trw1.sferee/buyer answered "YES" to 12.d.2. the: tnmsforor(sel\ermusl record the type of
         documentation showing the exception to the prohibition and attach a copy to this ATF Fmm 4473. (Sr,e ln.slruclio11sfor Question 18.c.)

              Questions l9t 20i or 21 Must Re Completed Prior To Tbe Transfer Of Thi! Firearm(s) (See /11slrw::lhms.for Q111.!stlo,1~· 19, 20 and 21.)
   19.11. n:ite the t=sferee's/buycr's identifying infonrn1.Liun in s~ctionA was 19.b. The N1CS or State trans11ctio11 nmnbcr (ifprovided) wa!];
          tra11smlt.tcd to N1CS or the appropriate State agency;

          Month                  Day           Year
               10                 18            2017                                              100DLC14M

   19 .c. The response initially (first) provided by NJCS or the appropriate Stale           19.d. The following rcsponsc(s) was/wore: later n:cc:ivc:d from NICS or the
          agency was:                                                                              appropriate St.ale age11cy:
                                                                                                                                                        D
           [R] Proceed
                                  •Delayed
                                                                                             •     Proceed                            (date)                Overturned

          ••      Denied                [The ftrearm(s) may be tmnsfrmd an
                                                          ifState law perm/I:; (optional)}    •     Denied                               (da!l!)
                  C.;incelle<l
                                                                                              •     Cancelled                            (date)
                                                                                                    No responsei was provided within 3 bl.lllincss day5.
   19.e. (Complete if applicable.) After the fin:am1 was transferred, the following response was received from NICS or the appropriate State agency on:
                                 (date).                    D
                                                          Proceed                     D
                                                                                  Denied                     O
                                                                                                       C11ncelled
   19.f. The name and Brady identification number of the NICS examiner. (Optional)                   19._g. Name ofFFL Bt'llployee Completing NICS check. (Optional)
                                                                                                        REYES NINO
                           (name)                                          (number)
                                                                                                                                                      ua w 10 w1 receive

   21.
         •D   No NICS check was required because the transferee/buyer has 0. valid permit from the State where the transfer is to take place, which qualifies
              as an c11.crnplion to NICS. (Sr,r, ln:structlonsfor Question 21.)
    Issuing State and Permit Type                     Date of lssu~ncc (i/ an.v)  Expir11Lion Dale (if un,v)          Pcrn,it Numbe~ (if ony)

                                                  Sci~tion C - Must Be Completed Personally By Tnn8feree/Buycr
   If the transfer of the fircann(s) takes pince on a different day from the date that the transferee/buyer sigoc:d Section A, the transferee/buyer must complete
   Section C immediately prior to the transfor of the: fireann(s). (&~ lnsln,ctlon:!ljor Question 22 and 23.)
   I certify that my answers to the que8tion8 In Section A of this form lire still true, correct, and complete,
    22. Transferee 'sfBuycr's Signature                                                                                           23. Recertification Date


                                                                  Transferor/Seller Continue to Next Page
                                                                STAPLE IF PAGES BECOME SEPARATED

                                                                                                                                          ATF Form 447l (~'.l00.9)
   Page 2 • !'6                                                                                                                           Rt!vi~~d Oc,cb~r 2016
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11/05/2017 04:48pm                            ACADEMY                                2106372600                                      N648                  Page 03/03
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                               Sei;ti11n D - Must Be Completed By Transferor /Seller Even If The Firearm(s) is Not Transferred
            .                                          25.                                                                 Z7.                                                                   28,
                              :.Z4.                                                     26 .
     M~nufMturer ,1.n,;I Importer (lfa11y) (if the    Modi:l                      Seri~l Nu1nber                 Type (See lnstmctlons                                                        Caliber or
     marwfacturer and impor·ter are di{(ereh/, af"Desig11ated)                                                      far Queslian 27.)                                                          Gauge
          the FFL must include both.)

                                                                                                                                                        Pi&tol                         221..R;
   ...l.   RUGER                                               SR22                        368-99791


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    2.
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    3.
    4.
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    REMINDER - By t~e Close of Bu$ine$~ Curt~plete ATF Form 3-310.4 .F'or Multiple Purchases of Handguns Within 5 Consecutive Buslne:i~ Day~
                                                                                                                                                                   ' \
                                                                                                                                                                      j
                                                                                                                                                                                                I


                                                                                                                                                                                                    \
   29. Total Number of P'irearms Transferred (Please handwrite by printing e.g.. zero. 30. Check if any part of this Lransaction is n pawn redemption.
       011,;!, two. three, etc. Do m,t u.~e 11umerals.) one                                                               D
                                                                                                Line Numbcr(s) From Question 24 Above:
   31. For Use by Licensee (See lns/11.1.ctiansfor Queslfrm 31.)                                                     32. Check if this transaction is to facilitate a private party transfer.
                                                                                                                          D (Site lnstruclionsfor Question 32)
   33. Trade/corporate n11mc 11nd address oftrnnsferor/seller and Fcdcr11l Firearm License Number (Musi ca11lai11 ut leustfirst three and lastfive digits
       of FFL Number X-XX-XXXXX.) (Hand stamp may be used.)
                   5-74-01390
                   ~d@my Sklre 46
                   15350 IH 35 North
                   Selma, 1X 78154

                                           The Person Transferring The Flreum(s) Must Complete Question5 34-37.
                            For Dcmicd/Cancelled Transactions, the Person Who Completed Section B Must Complete Questions 34-36.
   I certify that: (l) J have 11!3d and m1den.tilnd the Notices, Instructions, and Definitions on this ATF Form 4473; (2) the information recorded bl Sections B ltnd Dill
   true, correct, and complete; 11nd (3) this entire trnn~cti1,m rttonl bus bttn completed at my licensed business premises ('41icensed premises" includes business
   temponuily conducted :Imm a qualifying gun show or event in the ~amc Stati: in which the licci-•scd premises is lomted) unless this transnction has met the
   requircmcnls of 18 U.S.C. 922(c~ Unle.~s thi~ tran~actfon hllS hren denied or cancelled, I further certify un lhe bi1sis uf-(l) the lnlmfcn:c'slbuyc-r's n-sponscs in
   S1:ctiun A (aod Scctior• C, if applicable); (2) my veiiJication of the identifiClltiOn r'«'!rd~ in qnB.<1tion 18 (and my re-verification at the time of transfer, lf&ction C
   was complet.ed); and (3) Srate or local law applicable to the lln.-ann~ business - it is my bclicf that it is aot unlawful fur me to :;el~ deliv11r; lnln$pOrt, or otherwise
   di~ osl! of the lirearm(s) listed on this form to the erSon identified in Scetion A,


           REYES NINO                                                                                                           TEAM MEMBER

           1' f\    . ~OTIC.E5 ~NSTR~f'~lO~S, AND DEFINIT                                                 FORMS 4473 FOR DENIEO/CANCL':I,.Li:,D TRANSPERS MUS1' SE RETAlNED:
                                                                                                          If the- transffY,p~~rcunn is denied/cancelled by NJCS, or if for any other reB.!Son
   PCr;osl~~hhor¼~~'i,&.~d certifi_c_a_r.J.,1,,,#-:=;;:--"-                                               the transfcrljt irot~~J,;c,j..afl:er a NlCS check is inilfated, lhc licensee mus! retain
    design~d N thnl n petSon lic~ns~d under 18 U.S.C. 9               y ,;letem1i11~ ifha/~he             tlJ\! ATF Form 44 73 in hiiVher records for al least 5 years. Fom1s 44 73 wilh re~pect
    may lawfully sell or deliver a firearm lo the person ldenlified in Section A, and                     to which,, sale, delivery, or tran~fer did not take pince 8hsll be sepnrately retained
    to alert lhe 1n111sfere~/bt1yer of certain restrictloris on the rec~ipt and poYseY~ion                in alphaba!ieal (by name of transferee) or chronological (h_y date oflran.iferge :i
    offiream1~. The tr.\nsforor/sellcr of a fl rearm niust (l(;tcnninc the lawfolncss of                  cei-t!fication) ord~r.
    the transaction and maintain proper records of the transaction. Con~equently, the
    transferor/seller must be familiar with the provisions of 18 U.S.C. 921-93 l ao4                      Jfthe tre.11sferor/seller or the trai1sferBe/buy~r discovers thnt an ATF Fom14473 is
    the regulations in 27 CFR Parts 478 and 479. In detennining the lawfulness of                         incomplete 01· i111prop=rly completed nflcr the fireilrn1 hn~ been ttansfcrred, o.nd !he
    the $al.: ut ddlvcry ofa rifle or sho1gu11 ton resident of another State, the                         lransforor/scllcr or th~ trnnsfc-ree/buyer wishes to correct the omission(s) or
    ll~u\sfetot/sellet· is presumed to know the applicable State laws nnd publi~hed                       errur(s), pho1ocopy lhe illaccurate fonn and make any necessary additions or
    orcli11a11c~s in \loth the tramll!rnr's/~ellcr·s Staie and the 1rnnsforec'slbuyer's                   revisions to tl1e pholucopy. The t1·an~ferut/seller shol1ld Mly make ch~nges lo
    SUic. (Sc,;, ATF P1'hlir.11tion ,'HOO.$. State laws 1211d Published 01-di11w1,·es.)                   Sections Band D. The transforco/buyc1· slJould only make cllanggs to Section A an,;!
                                                                                                          C. Wh<i~vct l'n~dc 1hc changcs 8ho~ld ini1i~l and date the changes. The co1·rcctcd
   Genernlly,ATF Fom14473 must b~ completed at the licensed busine~s premises                             photocopy should b~ attached to the origiual Form 4473 imd retained a~ part of the
   when n firennu is lnmsfom::d uvet•1he•counlet'. federal law, l 8 U.S.C. n.2.(c).                       u·ansf"cror's/~cllcr'5 pcn11a11ent .-..cord~.
   allows a licensed importer. m311ut"~turcr. or (lcalcr to sell n fin:-mm to n nonli-
   O~Mce who docs not appe3r ln person at the licensee's business premis;:s only                          Exportlltion ofFi~earms; The Siaw ot Commerce Dcpartmcnis may require a
   if the lrnnsforcc/buycr mccls ccrtuin I"l."<[UU"Cl111:nt~. Tl1t•s1: r1:1111ireine111s ,,r..., ~""I     fLream1~ 1:x.pt>l"l~r I~, obt,,in ,1 lil}~ll•e pd1)f !1) exp1Jrl, WBrning: A.t1y 1ierson wh,) e:>1-
   forth in section 922.(e), 27 CFR 478.9G(b), and ATF Procedure- 20 l 3-:l.                              ports a ti rearm without proper 3uthorizati on may be tined not m1;1re than $1,000,000
                                                                                                          and/or impri5oncd for 1101 more than 20 years. Sec 22 U.S.C. 2778(c).
   After t.lic transferor/seller l1a.s completed the firenm1s trnnsaction, he/she must
   make the completed, origiual ATF Form 4473 (which includes th1, Notices, Gen-                                                                      ScctiunA
   eral instructions. and Definilions), nnd ony supporting documents, p~11 of bis/lier
   pimnan~nl r~cotd8. Such Fomis 4473 must be Maincd for at least 20 years and                            Th~ transfc1·cc/buyer must personally complete Section A of this fonn and certify
   nt"ter that perio,;! may be ~~l)m)ll!!d !D ATF. Filini.: nrny bs chrn11ologicnl (by dale               (1·i1<n) that !lrn nnswm"!l are true, com~ct, and complete. However, if the transferee/
   c:{dispo.t/t/011), alphabetical (by name ofpi1rcliaser), orniimerical (by tran$(IC•                    buyer fa i,nable to read and/or write, the answen, (other tha11 the ,iignatzm:) muy be
   1/on .,e1•/al numhe1'), as long ss all of the transfcror's/seller·s completed Forms                    completed by another person. excluding the transferor/seller. Two persons (other
   4473 are rlled in cl1e ijame manner.                                                                   tlia,1 the tmn4ero1·/s11//er) IllllSt then sign as witn..-:SS\)S !u the 1.l'W'.lsforcc's/buycr's
                                                                                                          answers and signature/c;ertifkation in que~tion 14.
                                                                                                                                                                   ATI' form 447) [5 JOO, 9)
   Page 3 of 6                                                                                                                                                     R~vi~cd O.::to!,,:r 2016
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